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                             EXHIBIT 5
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 K.C., et al.,                             )
                                           )
                 Plaintiffs,               )
                                           )
 v.                                        )    No. 1:23-cv-00595-JPH-KMB
                                           )
 THE INDIVIDUAL MEMBERS                    )
 OF THE MEDICAL LICENSING                  )
 BOARD OF INDIANA, in their                )
 official capacities, et al.,              )
                                           )
                 Defendants.               )


                                     DECLARATION OF
                                 KRISTOPHER KALIEBE, M.D.
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 I, Kristopher Kaliebe, state as follows:

          1.    I am a medical doctor. I am trained in general psychiatry, child and adolescent psy-

 chiatry, and forensic psychiatry. My professional background, experience, and publications are

 detailed in my curriculum vitae, which is attached to this report.

          2.    I have been retained by counsel for Defendants in the above-captioned lawsuit to

 provide an expert opinion concerning care of patients with gender dysphoria and the need for open,

 scientific dialogue regarding how best to treat gender dysphoric youth. My opinion will be based

 primarily on my own experience as a physician, psychiatrist, and associate professor, as well as

 the relevant literature in this area. I have reviewed the expert reports of Dr. Daniel Shumer, Dr.

 Daniel Karasic, and Dr. Jack Turban. I have also reviewed the initial production of the Plaintiffs’

 medical records in this case, uncertified drafts of these physicians’ depositions and that of Dr.

 Catherine Bast and Michelle Marquis. I may wish to supplement my opinions or the bases for them

 as new evidence comes to light or new research is published.

          3.    Over the past four years, I have testified at trial and/or deposition in the following

 cases:

                a.      Civil Testimony, retained by the defense:

                     i. In the Interest of RW, LL, AP Minor Children January 28, 2020 Circuit

                        Court of the 13th judicial circuit, Juvenile Division, Judge Lisa Campbell,

                        Tampa FL

                     ii. August Dekker et al. v. Simone Marstiller et al., Case No. 4:22-cv-00325-

                        RH-MAF, U.S. District Court, Tallahassee FL, May 18, 2023

                b.      Civil Testimony:




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                  i. February 28, 2020, Jeffrey Spivey, petitioner/father and Teresa Spivey

                     N/K/A Teresa Cartwright, respondent/mother Case No.: 2016 DR0471’s,

                     Circuit Court of the 12th judicial circuit in and for Manatee County Florida.

                     Judge Kevin Bruning

             c.      Civil Testimony, court appointed:

                  i. Re: The Marriage of Robyn Cohen McCarthy and John McCarthy, Novem-

                     ber 1, 2019 11th Judicial Circuit, Family Division, Dade County, Judge Ja-

                     son Dimitris, Miami FL

             d.      Criminal Testimony, retained by the defense:

                  i. The State of Florida v. Bill Paul Marquardt, December 19, 2019 5th Judicial

                     Circuit, Sumner County, Florida, Judge William Hallman III, Bushnell

                     Florida

                  ii. The State of Florida v. Bill Paul Marquardt, August 24, 2022 5th Judicial

                     Circuit, Sumner County, Florida, Judge Mary P. Hatcher Bushnell Florida

             e.      Civil Depositions, retained by the defense:

                  i. Z.M.L., a minor, through her parents and guardians, vs. D.R. Horton, Inc.,

                     a foreign corporation authorized to do business in Florida, United States

                     District Court, Middle Division of Florida, Tampa, May 6, 2021

                  ii. The Estate of Jean Lindor, deceased minor, by and through the Personal

                     Representative of the Estate, James Lacroix and Nouse Andree Lacroix, in-

                     dividually, Plaintiffs, v. Bos Transport, LLC, a Florida Limited Liability

                     Company, and Orestes Zamora Fleites, individually, December 5th, 2022




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                        iii. August Dekker et al. v. Simone Marstiller et al., Case No. 4:22-cv-00325-

                            RH-MAF, U.S. District Court, Tallahassee FL, March 20, 2023

                   f.       Civil Depositions, retained by the plaintiff:

                         i. Carlton Collins, individually, and on behalf of his minor son, Connor Sam-

                            uel Collins v. David R. Wallace, Sr., M.D. Louisiana’s 14th judicial district,

                            Civil Suit: 2019 – 4128 – D, March 4th, 2022

                   g.       Criminal Deposition, retained by the defense:

                         i. State of Florida v. Justin Mitchell Pennell, 2020CF000159FAXWS, 6th Ju-

                            dicial Circuit of the State of Florida in and for Pasco County, March 11,

                            2022

        4.         I am over the age of 19, am qualified to give this declaration, and have actual

 knowledge of the matters stated herein. If called to testify in this matter, I would testify truthfully

 and based on my expert opinion. I am being compensated at a rate of $400 per hour. My compen-

 sation does not depend on the outcome of this litigation, the opinions I express, or the testimony

 that I provide.

                               BACKGROUND AND QUALIFICATIONS

        5.         I am an associate professor at the University of South Florida in Tampa, Florida. I

 was recently promoted to full professor, active July 1, 2023. I am Board Certified in Psychiatry,

 Child and Adolescent Psychiatry, and Forensic Psychiatry. My clinical work has been primarily in

 university-based clinics, Federally Qualified Health Centers, and juvenile corrections.

        6.         I was awarded my medical degree in 1999 and subsequently completed general

 psychiatry, child and adolescent psychiatry, and forensic psychiatry training. This training includes




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 education in human biology, human sexuality, development, brain functioning, normal develop-

 ment, and psychopathology. Gender dysphoria and gender dysphoria treatment were part of my

 professional training.

        7.      From 2005 to 2016, I was Assistant Professor at Louisiana State University Health

 Science Center – New Orleans. I was the program director of the LSU Child Psychiatry Fellowship

 for 2 years. Since 2016, I have been Associate Professor at the University of South Florida, where

 my clinical roles mainly include working with juvenile corrections and supporting primary care

 physicians through the Florida Medicaid Psychiatric Medication hotline. I serve in an on-call ca-

 pacity at Tampa General Hospital. I also practice forensic psychiatry, working on both child and

 adult cases in both criminal and civil court.

        8.      In addition, I work in two university-based training clinics. For my entire stay at

 the University of South Florida I have supervised a child and adolescent psychiatry clinic, and I

 recently added an adult psychiatry resident clinic to my schedule.

        9.      As a supervising physician at the University of South Florida’s Silver Child Devel-

 opment Center, my role is to function as a clinical supervisor and instructor. Child psychiatry

 residents and general psychiatry residents serve as the primary patient evaluators and clinicians. I

 also evaluate new patients directly and then see patients as needed. I oversee the residents’ work

 product and function as the physician of record. In this clinic I evaluate and treat pediatric patients

 with gender dysphoria. In addition to these direct clinical experiences, my duties at the Silver Child

 Development Center include training residents regarding the treatment of patients, including those

 with gender dysphoria.




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        10.     Similarly, at the University of South Florida’s Outpatient Psychiatry Center, my

 duties include supervising and instructing psychiatry residents. At this clinic as well, general psy-

 chiatry residents serve as the primary patient evaluators and clinicians, and I evaluate new patients

 directly and see them afterward as needed. I oversee the residents’ work product and function as

 the physician of record. As part of my role in this clinic, I evaluate and treat patients with gender

 dysphoria.

        11.     Within the juvenile justice system, I also evaluate and treat patients with gender

 dysphoria. And I have been consulted to provide a second opinion and coordinate care regarding

 a patient with gender dysphoria in the Louisiana juvenile correctional system.

        12.     In addition to direct clinical care, I am routinely consulted by colleagues. For in-

 stance, I have provided an opinion on whether a pediatric patient was competent to assent to the

 administration of puberty blockers to enter on a path toward sex hormone treatment and potential

 surgeries. I have also been consulted regarding psychotherapeutic approaches to young adult pa-

 tients who detransitioned. And I have collaborated in the care of patients with gender dysphoria as

 part of my work with the Florida Medicaid Psychiatric Hotline.

        13.     I have extensive teaching experience, including teaching medical students, general

 psychiatry residents, child and adolescent psychiatry fellows, and forensic psychiatry fellows. I

 have years of extensive positive feedback from medical students and psychiatrist residents.

        14.     I practice and support conventional medicine, and I have also strongly advocated

 for the expansion of Federally Qualified Health Centers, along with improved collaboration of

 mental health with primary care (Kaliebe 2016, Kaliebe 2017).

        15.     My support of, and attempts to improve conventional medicine, are balanced by a

 healthy degree of caution. The history of medicine is filled with examples of the harms that can




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 come with unproven, unnecessary, aggressive, or counterproductive interventions. As such, I have

 presented twice at the Preventing Overdiagnosis Conference.

        16.     Another clinically relevant academic interest of mine is the tradeoffs and influence

 of technology and mass media, especially on young people. (Kaliebe 2002, Gerwin 2018). I have

 long focused on how technology and the media intersect with society and culture, including the

 impacts of social media, recent increases in tribalism, and the spread of misinformation. With Paul

 Weigle, I co-edited the Child and Adolescent Psychiatric Clinics of North America Youth Internet

 Habits and Mental Health edition in 2018. This compilation of clinical review articles included 16

 chapters by invited experts on digital and mental health related issues. (Kaliebe 2018). I presented

 on distraction and misinformation at the 2022 conference of the American Academy of Child and

 Adolescent Psychiatry.

        17.     I am a member of the American Academy of Child and Adolescent Psychiatry, the

 American Academy of Psychiatry and the Law, and the American Psychiatric Association. I have

 been most active in the American Academy of Child and Adolescent Psychiatry (AACAP). I was

 awarded status as a Distinguished Fellow at AACAP in 2016. I first presented regarding media at

 the 2004 AACAP annual conference and have now presented at the annual conference 25 times. I

 served as co-chair of the Media Committee from 2013-2021 and was an author on the AACAP’s

 clinical practice guidelines for telepsychiatry. I served as the Liaison from AACAP to the Ameri-

 can Academy of Pediatrics from 2016-2022. I have also served AACAP in the state affiliates,

 acting as the Louisiana Council for Child Psychiatry as secretary/treasurer for 4 years and as pres-

 ident for 2 years.




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         18.     I have extensive experience in psychotherapy and have received additional training

  in Cognitive Behavioral Therapy and trauma-focused therapies. I have been providing psychother-

  apy and teaching psychotherapy to psychiatry trainees throughout my career. I currently routinely

  supervise psychiatry residents at USF regarding psychotherapy. I created and taught a Cognitive

  Behavioral Therapy practicum for LSU residents from 2007 to 2016. I was a member of the Asso-

  ciation for Behavioral and Cognitive Therapies from 2004 to 2016.

                                  SUMMARY OF MAIN POINTS

         19.     While historical reports of gender dysphoria exist, they were rare until approxi-

  mately the last decade. Since then, the number of youth suffering from gender dysphoria has sky-

  rocketed across countries in the economically advanced Western world.

         20.     Significant evidence connects the recent increase in gender dysphoria to a spread

  of ideology combined with technologically induced contagion effects.

         21.     Small numbers of advocate physicians within medical organizations have been able

  to leverage moralized claims and low-quality evidence to promote medical interventions for gen-

  der dysphoria in minors.

         22.     As American medical professional organizations have already endorsed the concept

  of so-called affirmative care as evidence-based and ethical, they are no longer neutral with regard

  to the science and have instead entered advocacy roles.

         23.     The language and assumptions supporting affirmative care for gender dysphoria are

  often based upon conjecture, opinion, or misinformation presented as established fact.

         24.     Due to the highly politicized and ideological nature of the issue of gender dyspho-

  ria, and efforts by proponents to silence debate, there is limited rigorous scholarly dialogue within

  American professional medical organizations and medical journals.




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     THE RECENT RISE IN TRANSGENDER AND NON-BINARY IDENTIFICATION
                          AMONG YOUNG PEOPLE

         25.     Current discussions regarding transgender care take place in the context of an un-

  explained and remarkable rise in minor patients reporting gender dysphoria. During my medical

  school experience and three residencies, I never encountered a patient reporting symptoms of gen-

  der dysphoria. For eleven years, from 2005 to 2016, I had a busy psychiatry clinic composed of

  roughly 80% minors and 20% adult patients. Not a single patient presented with gender dysphoria.

         26.     During those eleven years, none of the hundreds of medical students or residents I

  supervised presented cases to me describing patients with gender dysphoria. None of my social

  work or psychologist colleagues ever asked for consultation or advice regarding how to clinically

  approach patients with gender dysphoria.

         27.     By contrast, on a single day in the last year, I treated three adolescent patients who

  had been diagnosed with gender dysphoria.

         28.     My experience is consistent with statistics indicating an abrupt rise in gender dys-

  phoria and presentations to medical clinics for related services. While the exact number is un-

  known, it can be said that the incidence of

  gender dysphoria in youth was previously

  rare. The American Psychiatric Associa-

  tion’s Diagnostic and Statistical Manual of

  Mental Disorders published in 2013 rated in

  adults at 2-14 per 100,000 (American Psy-

  chiatric Association p. 454). Referrals at the

  Tavistock clinic in England increased over




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  50-fold in just a decade from 2009 to 2019. (Tavistock & Portman, NAHS Foundation Trust,

  2020).1

            29.   Similar increases have been reported across much of the economically advanced

  countries in the world, many showing an over 1000% rise in gender dysphoria over the last decade

  (Marianowicz-Szczygiel 2022).

            30.   Never    before   have

  there been large cohorts of individuals

  seeking medical services to alter their

  secondary sex characteristics. There

  have been decades of extremely rare

  treatment which was at the time

  acknowledged as compassionate but

  experimental care. Yet the current pa-

  tients expressing gender dysphoria rep-

  resent primarily a new and distinct pa-

  tient population, not a population

  which has historically existed. As the independent review of the gender identity services for chil-

  dren and young people in the UK noted, the sudden “increase in referrals has been accompanied

  by a change in the case-mix from predominately birth-registered males presenting with gender

  incongruence from an early age, to predominately birth-registered females presenting with later

  onset of reported gender incongruence in early teen years.” (Cass 2022).




  1
   Graphs were created by the Society for Evidence Based Gender Medicine and were drawn from
  data by the Tavistock clinic and the Swedish National Board of Health and Welfare, respectively.


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         31.     As a psychiatrist, I have encountered many patients who are uncomfortable with

  their bodies. This discomfort or dissatisfaction is often comingled with anxiety and depression,

  along with various diagnoses which involve bodily discomfort, including eating disorders or Body

  Dysmorphic Disorder.

         32.     I have observed bodily discomfort more often in females, especially as girls enter

  puberty, which is consistent with the epidemiological literature. Puberty introduces significant

  challenges and risks to females as they receive more attention from males, including adult males,

  along with increased competition from peers. Puberty now comes much younger than for our an-

  cestors, creating a greater mismatch between brain and body maturity.

         33.     When a new patient population emerges, as it has with minors suffering from gen-

  der dysphoria, it creates challenges for physicians to respond. This phenomenon requires some

  explanation, and any complex phenomenon likely has a multifactorial line of causation. Yet mul-

  tiple lines of evidence point to direct social influences and online and social media contagion as

  major contributors to the remarkable rise in gender dysphoria in adolescents.

         34.     The influence of culture, medical theories, and ideology on symptom production is

  long-standing and well known. Numerous examples of how culture has intersected with psychiat-

  ric illness from the Victorian to modern era have been detailed in the literature (Shorter 1993). The

  mere act of codifying a psychiatric disorder can cause a new clinical presentation among those

  with pre-existing mental health challenges (Gauld 2022; Horesh 2022).

         35.     The development of new treatments can also usher forth changes in symptom pro-

  duction, change patient presentations, and increase requests for treatment at medical or mental

  health clinics. Peter’s Kramer’s 1993 “Listening to Prozac” spent 21 weeks on the New York

  Times Best Seller list. Prozac (trade name fluoxetine) ushered in what can be termed cosmetic




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  psychopharmacology, the hope of making patients “better than well.” (Kramer 1994). Marketing

  for fluoxetine included selling the concept of depression as a medical disorder. More patients

  showed up in clinics wanting treatment as other serotonin reuptake inhibitors joined the market.

  Just naming these substances “anti-depressants” was a smart trick of language to increase patient

  expectations. Fluoxetine remains a useful medicine, yet no longer are attitudes about fluoxetine

  celebratory: much of what initially seemed a strong response was placebo, and long term results

  were much less impressive than what was seen in short term studies. (Oronowicz-Jaśkowiak,

  2019). The modern era of psychopharmacology altered individuals’ views of themselves and what

  about themselves they desire to change, but the medicalization of mood through psychopharma-

  cology has not ushered in an era of improved mental health and flourishing.

         36.     Humans evolved as a sexually dimorphic, ultra-social, and cultural species. Culture

  has comingled with our evolution because learning from others enables our very survival. Humans

  acquire a considerable portion of our behaviors and viewpoints “by tapping into a large body of

  non-genetic information that has been filtered and accumulated over generations. This process,

  termed cumulative cultural evolution, creates a storehouse in the form of strategies, attentional

  biases, motivations, tastes, and cognitive heuristics that are necessary for us to accomplish even

  the basics of survival.” (Henrich 2021, p. 210).

         37.     Humans thus cannot explain the original rationale for many of our routines, habits,

  and customs because they have been shaped over time. Cumulative culture constantly changes, but

  the recent rate of change has been exponentially faster due to the explosion of technologies. The

  modern world is thus experiencing perhaps the largest generation gap in history, much of which is

  caused by media and online experiences.




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         38.     In ancient evolutionary environments, copying others aided survival via the trans-

  mission of acquired knowledge about which areas were safe, how to make shelters or weapons,

  which berries or mushrooms were safe to eat, and what type of social behavior was acceptable

  within a group. Human brains are particularly adapted with exceptional abilities to notice and copy

  the behavior of others, and transmission of culture occurs in part via humans’ naturally mimicking

  what we observe in others.

         39.     Unfortunately, these same instincts that develop helpful behavioral norms also en-

  able social contagions that comingle with mental and behavioral disorders. Long-standing schol-

  arly consensus exists confirming that direct social contagion not only affects health, such as cardiac

  disease (Christakis 2013), but interacts with technology to enable the spread of mental health prob-

  lems (Haltigan 2023). For instance, in recent years technology has aided the spread of suicide

  contagion (Yildiz 2019), non-suicidal self-injury (Jarvi 2013), and contagion related to eating dis-

  orders such as anorexia (Allison 2014).

         40.     Since the COVID-19 pandemic, there has been an explosive increase of young peo-

  ple displaying features of Dissociative Identity Disorder (Gauld 2022) and movements similar to

  those seen in Tic Disorders such as Tourette’s (Pringsheim 2021). Similar to other examples of

  social contagion, these sudden onset tic presentations tend to be comorbid with pre-existing mental

  illnesses, and adolescent girls show themselves to be the most susceptible.

         41.     The phenomenon labeled Mass Social Media Induced Illness (Giedinghagen, 2022)

  shows us that, at scale, users of social media can develop technology-facilitated psychosomatic

  illness. Psychiatrists have seen an abrupt rise in patients presenting with a social media enabled

  self-diagnosis (Rettew 2022, Weigle 2023).




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         42.     Similarly, significant evidence suggests that the dramatic rise in minors presenting

  with gender dysphoria may be attributable to technologically induced contagion effects. In 2018,

  researcher Lisa Littman conducted a survey of parents of gender dysphoric youth whose gender

  dysphoria began during or after puberty (Littman 2018). “Most (86.7%) of the parents reported

  that, along with the sudden or rapid onset of gender dysphoria, their child either had an increase in

  their social media/internet use, belonged to a friend group in which one or multiple friends became

  transgender-identified during a similar time-frame, or both.” (Littman 2018 p.2) Littman thus hy-

  pothesized that, as with other social contagions such as disordered eating, aggression, bullying,

  and drug use, “it is plausible that the following can be initiated, magnified, spread, and maintained

  via the mechanisms of social and peer contagion: (1) the belief that non-specific symptoms (in-

  cluding the symptoms associated with trauma, symptoms of psychiatric problems, and symptoms

  that are part of normal puberty) should be perceived as gender dysphoria and their presence as

  proof of being transgender; (2) the belief that the only path to happiness is transition; and (3) the

  belief that anyone who disagrees with the self-assessment of being transgender or the plan for

  transition is transphobic, abusive, and should be cut out of one’s life.” (Littman 2018 p. 33)

         43.     As explained below, Littman’s paper and her hypothesis of a “rapid-onset gender

  dysphoria” received remarkable blowback from advocates of “gender affirming care.” The journal

  that published the paper retracted the initial paper, issued a “correction,” and re-published the pa-

  per (with the initial data unchanged). Since then, the hypothesis of a social contagion element to

  adolescent gender dysphoria has only grown stronger.

         44.     Clinicians working at the Tavistock clinic in London (before its closure, the world’s

  largest adolescent gender clinic) expressed support for Dr. Littman’s concept of Rapid Onset Gen-

  der Dysphoria: “While some of us have informally tended toward describing the phenomenon we




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  witness as ‘adolescent-onset’ gender dysphoria, that is, without any notable symptom history prior

  to or during the early stages of puberty (certainly nothing of clinical significance), Littman’s de-

  scription resonates with our clinical experiences from within the consulting room” (Hutchinson

  2019). They added: “[I]t is commonplace for clinicians to engage in conversations regarding this

  phenomenon. Furthermore, from speaking with international colleagues, it seems to us that this

  phenomenon is also being observed in North America, Australia, and the rest of Europe.”

         45.     Littman’s research and her conclusions should not have surprised those following

  the literature on gender dysphoria. Three years earlier, a leading Finnish clinician (Kaltiala-Heino,

  2015) showed that a new cohort, mostly females with significant emotional disturbance, was pre-

  senting to gender clinics: “It is important to be aware of the different groups, or developmental

  pathways, in gender dysphoric adolescents in order to be able to find appropriate treatment options.

  In the presence of severe psychopathology and developmental difficulties, medical [sex reassign-

  ment] treatments may not be currently advisable. Treatment guidelines need to be reviewed ex-

  tended to appreciate the complex situations.” In other words, three years prior to Littman’s work,

  researchers had already identified the new cohort of patients Littman later wrote about: “In our

  data, most of the adolescents first presented with gender dysphoria and cross-gender identification

  well after the onset of puberty, and the vast majority suffered significant psychopathology and

  broader identity confusion than gender identity issues alone. It is important to be able to openly

  discuss these alternative presentations of gender dysphoria in order to find appropriate treatment

  options.” The UK Cass Review recently came to a similar conclusion: “At present we have the

  least information for the largest group of patients—birth-registered females first presenting in early

  teen years.” (Cass 2022 p.58).




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          46.     A recent paper (Diaz 2023) analyzed survey results of parents of children who be-

  lieve their children to have Rapid Onset Gender Dysphoria. This survey found a large portion of

  natal males with prior onset of video game addiction (17%), and substantial numbers of these youth

  were reported to have internet addiction (14% for natal males and 16% for natal females) prior to

  gender dysphoria. The paper concluded: “Youths with a history of mental health issues were es-

  pecially likely to have taken steps to socially and medically transition…. parents believed gender

  clinicians and clinics pressured the families toward transition. The finding is particularly concern-

  ing given that parents tended to rate their children as worse off after transition.”

          47.     Dr. Jack Turban, a psychiatrist and transgender activist, recently attempted to argue

  against social influences on gender dysphoria and transgender status, warning that “the notion of

  ROGD has been used in recent legislative debates to argue for and subsequently enact policies that

  prohibit gender-affirming medical care for [transgender and gender diverse] adolescents.” As is

  often the case when activism is prioritized over scholarship, Dr. Turban’s article is replete with

  misinformation. The article begins by asserting, for instance, that the ROGD “hypothesis was

  formed solely through the analysis of online parental survey data.” (Turban 2022). But as shown

  above, clinicians had already reported the change in patient profile three years before Littman’s

  article, in 2015.

          48.     Even more significantly, a letter to the editor published in Pediatrics noted that

  Turban’s article contained “critical theoretical and methodological concerns specific to its concep-

  tualization of social contagion and its data analysis.” (Lett 2022). Much more substantial critiques

  were rejected by the editors at Pediatrics; while not searchable or indexed as scholarly work, some

  of the critiques are available as comments on the article’s web page. One group of authors, led by

  Leonora Regenstreif at McMaster University (home of evidence-based medicine), documented




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  concerns about “the non-random sampling,” “the information not solicited in the survey, the word-

  ing and possible interpretations of the questions, as well as the accuracy and completeness of the

  data generated… [and] the imprecise wording of several questions regarding self-identity and sex-

  uality.” (Regenstrief 2022.) This group noted how Turban “assume[d] away” the key question of

  how trans-identified teens will answer “What is your sex?”, even though the CDC had “urg[ed]

  caution in interpreting the ‘sex’ variable” because it is known that some trans-identified teens will

  give their gender rather than their biological sex when asked for their sex. Yet Turban’s entire

  study was based on this assumption. (Regenstreif 2022). Another researcher ran the data and found

  out that, indeed, transgender respondents who identified as male were on average 2.5 cm shorter

  than non-transgender male respondents, indicating “that some of the transgender respondents who

  identified themselves as male were natal females.” (Biggs 2022A). As that researcher concluded:

  “Given the ambiguity of the [survey’s] question on sex—evidently confusing to respondents and

  to scientists alike—no conclusion about the sex ratio of transgender youth can be drawn from this

  survey. The article does, however, provide considerable insight into the editorial standards main-

  tained by Pediatrics.” (Biggs 2022A). To add precision to Biggs’ point, the problem is not general

  lax editorial standards at Pediatrics, but low standard specifically observed in gender medicine.

         49.     Regarding social contagion and Rapid Onset Gender Dysphoria, Turban also re-

  ported in that same article that he is attempting to influence political and legislative actions. He

  theorizes that scholarly discussion of the data supporting the social influence hypothesis is some-

  how harmful. He lamented: “The deleterious effect of unfounded hypotheses stigmatizing

  [transgender and gender diverse] youth, particularly the ROGD hypothesis, cannot be overstated,

  especially in current and longstanding public policy debates.” (Turban 2022). This statement alone




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  reveals that Turban in fact is willing to overstate, thereby prioritizing advocacy over science and

  the search for the truth.

           50.    Whereas “gender affirming” organizations like WPATH have been critical of the

  “rapid-onset gender dysphoria” hypothesis and the possibility of a social element to the rise in

  cases of adolescent gender dysphoria, healthcare authorities in other countries have paid more

  attention. As already noted, the independent Cass Review in the UK has recognized the rapid

  change in patient profile and warned that little data exists “on the more recent case-mix of pre-

  dominately birth-registered females presenting in early teens” because “[m]uch of the existing

  literature about natural history and treatment outcomes for gender dysphoria in childhood is based

  on a case-mix of predominately birth-registered males presenting in early childhood.” (Cass 2022

  p.19).

           51.    Likewise, last February the French National Academy of Medicine noted: “What-

  ever the mechanisms involved in the adolescent—overuse of social networks, greater social ac-

  ceptability, or example in the entourage—this epidemic-like phenomenon results in the appearance

  of cases or even clusters in the immediate surroundings.” It recommended “[t]he vigilance of par-

  ents in response to their children’s questions on transidentity or their malaise, underlining the ad-

  dictive character of excessive consultation of social networks which is both harmful to the psy-

  chological development of young people and responsible, for a very important part, of the growing

  sense of gender incongruence.”

           52.    In my experience, many psychiatrists in America also believe social media has sig-

  nificantly contributed to the rise in gender dysphoria. Yet most child and adolescent psychiatrists

  I speak with admit to me that they will not speak publicly on this subject due to how sensitive the




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  topic is, expressing fears of hostilities from activists along with condemnation and retribution from

  others within their universities or organizations.

         53.     My personal conversations align with recent polling. As part of the Social Media

  Institute at the October 2022 American Academy of Child and Adolescent Psychiatry annual con-

  ference, program chair Paul Weigle anonymously polled the audience on a number of topics. When

  polled: “How often do you see teens who seem to be influenced by social media in regards to their

  sexual and/or gender identity?”, 80 of 97 (82%) of the child psychiatrists in attendance indicated

  social media was an influence “somewhat often” or “very often.” This data was recently published

  in Psychiatric Times (Weigle 2023), and to my knowledge, is the first data suggesting that the vast

  majority of a group of child and adolescent psychiatrists acknowledge that social contagion may

  be a major contributor to the rise in gender dysphoria.

         54.     A similar poll was conducted by Dr. Weigle at the January 18, 2023, meeting of the

  Child & Adolescent Psychiatry Society of Greater Washington, where all attendees were physician

  members. When asked, “How often do you see teens who seem to be influenced by social media

  in regards to their sexual and/or gender identity?”, there were 34 respondents. 47% indicated Oc-

  casionally and 35% indicated Often. So again, 82% of these child and adolescent psychiatrists

  reported that they see teens’ gender identity being influenced by social media. These polls suggest

  that practicing child and adolescent psychiatrists have direct clinical experience leading them to

  believe social media is influencing gender identity in their patients. More research is needed into

  Rapid Onset Gender Dysphoria and other possible causes of the recent change in patient profile in

  gender dysphoric youth.

         55.     In my opinion, technological, ideological, and social factors underlie much of the

  recent increase in gender dysphoria in adolescents. While this does not rule out other factors, the




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  ongoing research demonstrating an association between ideology, social factors and gender dys-

  phoria in adolescents raises serious doubts about the wisdom of using transitioning treatments like

  puberty blockers and cross-sex hormones to treat the new population of gender dysphoric youth.

  THE DANGERS OF PROCLAIMING A FALSE SCIENTIFIC CONSENSUS FOR HOW
           BEST TO TREAT GENDER DYSPHORIC YOUNG PEOPLE

         A. Best Practices for Scientific Dialogue

         56.     Our highly social nature and limited rationality demand that, in medicine and sci-

  ence, we create conditions which foster trustworthy data and minimize the creation and spread of

  misinformation. In my opinion, medical organizations and journals have recently prioritized ad-

  vocacy over science when it comes to considering treatments for gender dysphoric young people.

         57.     Evidence based medicine requires “the development and promotion of a universal

  set of scientific rules that ensure accurate inferences on the basis of experience” (Djulbegovic,

  2009). A prescription for open exchange and deliberate consideration regarding gender dysphoria

  treatments should aspire to:

                 a.     Solicit a diversity of perspectives.

                 b.     Discuss the argument, rather than the person making the argument.

                 c.     Clarify the methods, source of data and its limitations.

                 d.     Use precise language rather than broad ideologies.

                 e.     Discuss potential sources of bias, including those related to group affilia-

                        tion.

                 f.     Quickly acknowledge and correct mistakes.

         58.     This framework would depersonalize the search for truth and esteem empirical di-

  alogue, which has been in short supply on numerous topics within academia. (Haidt 2020).




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          59.    For this reason, clinical practice guidelines and documents providing generalized

  medical recommendations must objectively reflect the evidence base. The Mayo Clinic Proceed-

  ings article, “Clinical Practice Guidelines: A Primer on Development and Dissemination,” (Murad

  2017) highlights that “trustworthy clinical practice guidelines require a systematic review to select

  the best available evidence and should explicitly evaluate the quality of evidence.” The authors

  argue that trustworthy guidelines should:

                 a.      “Be based on explicit and transparent process that minimizes distortions,

                         biases and conflicts of interest.”

                 b.      “Provide a clear explanation of the logical relationships between alternative

                         care options and health outcomes.”

                 c.      “Provide ratings of the quality of evidence and the strength of the recom-

                         mendations.”

          B. How Breakdowns in Scientific Dialogue Occur

          60.    Ideological homogeneity and group identity are risk factors for developing irra-

  tional beliefs and spreading misinformation. (Sun 2022; Macy 2018). This directly relates to atti-

  tudes about transgenderism and gender dysphoria treatments where ideological dogma has dis-

  torted scientific exploration. Those who dare to question the dogma, such as Littman, are treated

  as heretics.

          61.    The dynamics of this polarization and lack of intellectual humility are understand-

  able. Within psychiatry and medicine, practitioners face patients afflicted by enormous suffering.

  Gender non-conforming patients at times face harassment and discrimination. Patients expressing

  gender dysphoria have high rates of depression, anxiety, and self-harm. All physicians and mental

  health professionals want to help. Those who started adolescent gender clinics hoped to relieve




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  suffering. Yet in medicine excessive optimism regarding low quality treatments can exacerbate

  rather than reduce suffering.

         62.     All humans, including physicians, tend to find arguments in favor of conclusions

  we want to believe. This bias is known as motivated reasoning (Peters 2020). Supporters of gender-

  affirming treatment want to believe they have found an ethical and evidence-based solution. This

  motivated reasoning explains the strong divergence between the enthusiastic support for gender-

  affirming treatments and their relatively weak evidence base (Brignardello-Peterson 2022).

         63.     Once a group, such as a gender committee, endorses a statement of belief, such as

  “gender affirmative care is life-saving,” other psychiatrists in their professional organization who

  have not reviewed the facts tend not to question it. Psychiatrists face a rapidly expanding evidence

  base across disorders, and we depend on specialization to lead us toward progress in our varied

  patient populations.

         64.     Especially if the “experts” assert a strong moral claim regarding a clinical approach,

  other physicians would assume it is based on strong evidence. This creates a group process where

  the leadership responds to show support and loyalty, and others tend to follow. Support of this

  moral claim becomes a marker of virtue and raises status within the group. Those who are skeptical

  tend to self-censor (a “spiral of silence”) rather than taking a risk of being called unethical (Noelle-

  Neumann 1974). These dynamics, especially leadership’s endorsement, make opinions appear like

  facts within the group. Members of this group never hear counterarguments or disconfirming data

  and become ever more confident.

         65.     Within such moralized environments, education and intelligence offer limited pro-

  tection from irrational beliefs. In fact, sophisticated language skills enable virtuosity in creating




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  and promoting false narratives. These dynamics have arisen before in medicine, and it is my as-

  sessment this has occurred again with regards to medical interventions to treat gender dysphoria

  in minors.

         66.     Contrary to popular belief, humans’ emotional programing drives much of our cog-

  nitive processes. That is, we tend to create beliefs that go along with what we feel, rather than the

  other way around. This usually works well, but also causes serious problems. In cognitive therapy,

  it is known as “emotional reasoning.” Emotional reasoning helps explain opinion cascades, parti-

  sanship, and group-think, as those who identify strongly with a group tend to feel positively toward

  those in the group and negatively toward the out-group.

         67.     The moralized framing of affirmative treatments for gender dysphoria encourages

  a cognitive shortcut known as attribution substitution (Sunstein 2009, p. 216). Attribution substi-

  tution is the process whereby a simple, related moral judgement is substituted for various concep-

  tually complex decisions. This common cognitive bias causes humans to intuitively believe view-

  points which appear virtuous, especially ideas which seem widely held within their social group.

  “Affirmative care” sounds compassionate and supportive, and these minor semantics can have a

  surprising influence.

         68.     Physicians can be especially susceptible to manipulation. Psychiatrist Anna

  Lembke, in her 2016 book Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked,

  and Why It’s So Hard to Stop, explained that “[d]octors are by and large pleasers” because “[t]hey

  make it through the complex maze of schooling all the way to medical school by figuring out early

  what people want and providing it.” (Lembke 2016, p. 104). In this way, physicians are susceptible

  to acquiesce to patient narratives and overtreat.




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           69.    Conditions resting on entirely subjective assessments like level of pain or gender

  identity have the most potential for harmful overtreatment. In both cases, patients can easily find

  out what symptoms to report to obtain the treatment they desire, as has been noted in the Cass

  Interim Review: “We have heard that some young people learn through peers and social media

  what they should and should not say to therapy staff in order to access hormone treatment.” (Cass

  Review 2022). In the current political climate, physicians feel the pressure to not be assailed as

  “gatekeepers,” even when logic and data tell them that outside social pressures should not distort

  medical care.

           C. Historical Examples of Harmful Scientific “Consensus” and Overtreatment

           70.    The medical system has a long history of spurts of overdiagnosis and overtreatment.

  Oncologist Otis Brawley laments that “our medical system fails to provide care when it is needed

  and fails to stop expensive, often unnecessary, and frequently harmful interventions even in situa-

  tions when science proves these interventions are wrongheaded” (Bawley 2011, p. 22). Many of

  our harmful interventions such as frontal lobotomies were celebrated at the time. Eventually soci-

  ety sees the harm, pushes back, and the medical profession eventually reforms.

           71.    Hydrotherapy, sterilization, lobotomy, and clitoridectomy (removal of clitoris to

  treat “hysteria”) were each a part of the medical establishment in the first half of the twentieth

  century (Braslow 1997). Prior to the age of antibiotics, neurosyphilis was a common cause of

  psychiatric admission, diagnosed at that time as general paralysis of the insane. The causative

  theory was the premature using up of cerebral vitality through excessive enjoyment of wine,

  women, and life. A common treatment of the time was malarial induced fever. It was thought this

  “treatment” saved patients from general paralysis of the insane, which had a fatal course (Shaw

  1927).




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         72.      For decades, sterilization was legitimized by the medical establishment. Not long

  ago, “[t]he most important elite advocating eugenic sterilization was the medical establishment,”

  which advocated “with near unanimity” for the procedure. “[E]very article on the subject of eu-

  genic sterilization published in a medical journal between 1899 and 1912 endorsed the practice.”

  (Cohen 2016).

         73.      Similarly, pioneers of frontal lobotomies spun their procedure with enthusiastic en-

  dorsement of the therapeutic nature of the procedure, ignoring evidence to the contrary. Their

  overstatements propelled lobotomies to gain acceptance among physicians desperate for new tools

  to address clinically challenging patients (Afkhami 2022). When the developer of the lobotomy,

  António Moniz, won the Nobel Prize in 1949, it further legitimized the operation. Even in 1954,

  the American surgeon and proponent of the surgery Walter Freeman claimed that transorbital lo-

  botomies had mortality and morbidity rates that were “gratifyingly and consistently low” (Afkhami

  2022). Yet by this time, medical journals were already documenting harms done (Afkhami 2022).

  Afkhami et al.’s linguistic analysis displays how lobotomy proponents projected a sense of hero-

  ism. They showed confirmation bias, i.e., these advocates ignored evidence disconfirming their

  theories. They tracked onto social norms in order to aggrandize their treatments and create a moral

  imperative to use lobotomies; as Freeman argued in 1954, “it seems not only possible, but obliga-

  tory, to extend the program of psychosurgery into the state mental hospitals in an effort to relieve

  human misery” (Afkhami 2022).

         74.      Medical educators teach residents and students when reviewing research to look for

  bias. Who initiated this research? Did they have a certain goal or outcome in mind, or are they

  neutral? This is because when advocates or industries fund research, multiple mechanisms cause

  the research typically to obtain the result desired by the funders. (Sismondo 2008). Within my




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  career, I witnessed the pharmaceutical industries’ manipulations to promote antidepressants. These

  manipulations were aided by our professional organizations, such as the American Psychiatric

  Association and American Academy of Child and Adolescent Psychiatry, who at the time were

  receiving significant funding from industry. “It’s possible for good people, in perversely designed

  systems, to casually perpetuate acts of great harm on strangers, sometimes without ever realizing

  it” (Goldachre 2014, p. xi). In the 2000s, an audit found that over 90% of the psychiatrists who

  created the clinical practice treatment guidelines were also paid by the pharmaceutical industry

  (Cosgrove 2009). Not surprisingly, the treatment guidelines at the time were overly focused on

  medications and downplayed other approaches. At psychiatric meetings and in our medical jour-

  nals, those of us whose approach went beyond medications were marginalized.

         75.     It was only after being sued that pharmaceutical companies were forced to release

  all their data, revealing that overall antidepressants often do not beat placebo, especially when

  treating children and adolescents. After this embarrassment, in the late 2000s, the American Psy-

  chiatric Association and American Academy of Child and Adolescent Psychiatry put in reforms to

  limit undue influence of pharmaceutical companies. In part, overtreatment occurred at scale be-

  cause providers were fooled by their clinical experience, as antidepressants have such a strong

  placebo response. In fact, it now appears that four out of five positive responses are arguably a

  placebo response (McCormack 2018, Hopcroft 2018, Oronowicz-Jaśkowiak, 2019).

         76.     For years, when antidepressant medications research obtained unfavorable or neu-

  tral results, these results were often never submitted for publication or buried in an obscure journal.

  (Turner 2008). Unfavorable results of antidepressant trials were also significantly delayed, known

  as “time lag bias” (Reyes 2011). Positive antidepressant trials were typically published quickly

  and in prestigious journals; thus, psychiatrists following the published literature were falsely led




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  to believe, for many years, that medications like paroxetine (Paxil) effectively treat depression in

  children. We now know, after the complete set of research has been released, that for children,

  many medications, including paroxetine, do not beat placebo. This is all the more concerning as

  psychiatrists and other providers exposed thousands of young people to paroxetine’s side effects,

  which include increased suicidality. Publication bias in medical journals distorted medical dia-

  logue and led to mass adoption of ineffective and potentially damaging treatment. It was not only

  financial incentives that led to harm, but also doctors’ egos, observations of placebo effects, and

  desires to relieve suffering. We thus must remain skeptical, and aware that negative results tend to

  be buried and positive results tend to be published. Notice the Tavistock failed attempt to replicate

  the Dutch study was never published in a peer review journal. This is evidence of likely publication

  bias in gender medicine and suggests that even following peer reviewed journals can steer clini-

  cians toward harmful treatments.

         77.     Within psychiatry and mental health, we have seen waves of theories. Psychoanal-

  ysis no longer dominates psychiatry but serves as an example of how a non-empirical, theoretical

  approach can gather support, become dominant, and enforce ideological hegemony within psychi-

  atry. When I was a trainee, many psychiatric leaders were trained as psychoanalysts, and it was

  clear that it was not socially acceptable for trainees to challenge the psychoanalytic orthodoxies.

  An anthropologist even documented our psychiatric sub-cultures and how we are “of two minds”

  (Luhrmann 2001). For decades, psychoanalysis dominated American psychiatry. “By 1960, virtu-

  ally every major psychiatry position in the U.S. was occupied by a psychoanalyst. More than half

  of all psychiatrists were training to become analysts or were analytically-inclined in their orienta-

  tion. All of the major psychiatry departments appointed psychoanalysts as chairmen.” (Rufalo

  2019). Furthermore, psychiatrists “seemed more interested in becoming respected members of the




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  establishment than in challenging it. Insular, highly competitive, and prestigious, psychoanalysis

  became a ‘status symbol.’” Psychoanalysis rose to and maintained dominance for decades not be-

  cause it was effective at treating mental illness but because it served as a marker of intellectual

  sophistication and membership in the leadership class. It is my opinion that these same dynamics

  have led to the over-enthusiastic support for affirmative treatments for gender dysphoria among

  psychiatrists.

          78.      The repressed and false memories movement of the 1980s and 1990s is another

  example of wide adoption of a theory without adequate evidence. While human memory is indeed

  flawed, and reports of distant memories being retrieved cannot be uniformly ruled as false, we

  know, and should have also known at the time, that human memory is susceptible to manipulations

  and is frequently inaccurate. A large contingent of mental health practitioners displayed a lack of

  skepticism, which led to harms both to patients and to those who were at times falsely accused.

  (Otgaar 2022).

          79.      The recent opioid epidemic is medicine’s most recent and deadly episode of over-

  treatment. Harmful and unnecessary interventions are especially likely to occur when patient de-

  sires are combined with financial incentives and the best of intentions. The American opioid epi-

  demic was ushered in by “expert” physicians who proposed that physicians needed more compas-

  sion because “pain is the 5th vital sign” (Mandell 2016, Adams 2016). Advocates for this approach

  were able to convince administrators and hospitals to push “improvements” in clinical care which

  prioritize documenting and reducing pain, with the result that opioid prescriptions skyrocketed.

  While a small number of patients may have achieved better pain control as a result, it came at the

  cost of creating legions of addicts. The Veterans Health Administration launched the “Pain as the




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  5th Vital Sign” initiative in 1999, requiring a pain intensity rating (0 to 10) at all clinical encoun-

  ters. In 2001, the Joint Commission on Accreditation of Health Care Organizations warned that it

  would be looking at organizations’ pain assessments in their accreditation judgments, thus using

  government fiat to force health providers en masse into harmful medical practice.

         80.     Similar to medicalization of transgender care, this government-backed proclama-

  tion regarding pain treatment came without sufficient preceding scholarly dialogue or even evi-

  dence that the suggested approach would actually solve the problem it claimed to be addressing

  (Mularski 2006). Nor did those “expert” physicians promoting increased use of opioids show any

  consideration for the potential long-term harms. Many patients suffer from physical and emotional

  pain, but when patient-driven medicine is allowed, too much compassion can cause harm.

  THE POLITICIZATION OF GENDER CARE AND SUPPRESSION OF DISSENTING
  OR QUESTIONING VOICES

         81.     With rapidly growing cohorts of patients expressing novel symptom clusters in a

  new area of medicine where a limited evidence base exists, differences of opinion regarding clin-

  ical care for gender dysphoria are expected. It would be remarkable if there was uniformity of

  opinion. Furthermore, gender care is politicized, and opinions tend to cluster in a manner consistent

  with an influence of political ideology (Regnerus 2022).

         82.     Within this context of low-quality evidence and divergent opinions, there are bound

  to be calls for reasonable clinical safeguards. There are also serious reservations regarding the

  effectiveness and concerns about the risks from affirmative treatment for Gender Dysphoria (Clay-

  ton 2022A, Biggs 2022B).

         83.     Much of the push for “affirmative treatment” for gender dysphoria treatment has

  come from professional organizations such as the World Professional Association for Transgender




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  Health, Endocrine Society, American Academy of Pediatrics, American Psychiatric Association,

  and American Academy of Child and Adolescent Psychiatry.

          84.    Like other groups, professional medical organizations are susceptible to tribal in-

  fluences and politicization. Medical professional organizations are large bureaucracies that serve

  many functions. They are important components of our medical system, but their influence and

  credibility can be misused. I have directly observed over the last decade, but particularly the last

  5 years, that these organizations have prioritized a politicized, narrow vision of social justice ad-

  vocacy. While this has arisen from good intentions, it has contributed to the creation and spread

  of misinformation regarding treatment of gender dysphoria.

          85.    I have directly observed that within these organizations, the members most enthu-

  siastic about a certain type of medicine self-select into “special interest groups” or committees.

  For instance, the psychopharmacology committee is filled with supporters of using psychophar-

  macology, and the psychotherapy committee is populated by members enthusiastic about psycho-

  therapy. Committees on gender and sexuality have been no exception. By participating in a com-

  mittee, a small group of people can establish themselves as content experts within their organiza-

  tion.

          86.    Using committees as content experts usually works well, as it did during my eight

  years as co-chair within AACAP’s media committee. AACAP leadership utilized our input to

  make decisions about clinical recommendations, public education, or relevant legislation.

          87.    As gender clinics spread across America in recent years, enthusiasts of “gender

  affirming care” self-selected into these clinics and also into gender-relevant committees. In my

  experience, most physicians are wary of the very concept that it can be beneficial to block puberty




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  or give cross-sex hormones to developing minors. Thus, those who venture into medicalized gen-

  der care are already a select few who bring to this work certain viewpoints and aspirations. Just as

  with the psychopharmacology or psychotherapy committee members, gender committee members

  have strong personal and professional investments in the success of their favored type of treatment.

  This creates a well-intentioned but homogenous group of supporters of “gender affirming care.”

         88.     Even the annual meeting scientific program co-chair at the American Academy of

  Child and Adolescent concurs that one-sided committees distort scholarly dialogue: “I actually

  share some of your concerns about AACAP, or at least the AACAP Program coming down too

  heavily on one side of politically charged topics where consensus is not as clear cut as some would

  represent. To some degree the program is based on input from various AACAP committees and if

  the committee on gender issues or other issues is too one sided, the program committee is in a

  tough spot. Our committees are considered our experts.” (Personal communication via email May

  23, 2023 from James McGough). Without the knowledge of most members of a professional or-

  ganization, as few as the dozen members in a committee can steer these organizations’ leadership

  to advocate for treatments or policy positions. Once medical organizations have come out with

  policy statements, clinical practice guidelines, and press releases advocating strongly for a posi-

  tion, they have difficulty accepting they may have misstated evidence, advocated for unwise pol-

  icy, or otherwise caused harm.

         A. American Academy of Pediatrics

         89.     The highly influential 2018 Policy Statement from the American Academy of Pe-

  diatrics (AAP) (Rafferty 2018) contains a preamble confirming that the author2 wanted his Policy




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    Dr. Rafferty alone “conceptualized the statement, drafted the initial manuscript, reviewed and
  revised the manuscript, [and] approved the final manuscript as submitted.” (Rafferty 2018).


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  Statement to be an advocacy document; the document begins with “As a traditionally underserved

  population that faces numerous health disparities” and ends with “while eliminating discrimination

  and stigma.” These themes are continued in the introduction and throughout the document. This

  Policy Statement contained many citation errors, overstatements, and mischaracterizations of the

  evidence base (Cantor 2020). The policy statement unfortunately denigrated and mischaracterized

  the longstanding and well-regarded clinical approach of watchful waiting, which the statement

  called “outdated” and claimed that “watchful waiting is based on binary notions of gender in which

  gender diversity and fluidity is pathologized.” In fact, watchful waiting respects fluidity and iden-

  tity development to a greater degree than “gender affirming care” because it leaves room for the

  patient to continue to grow in his or her identity. This policy statement has been particularly det-

  rimental to the scholarly exchange of ideas related to gender dysphoria treatments, as it used the

  prestige of the AAP to privilege the concept of “affirmative care” and denigrate other treatment.

  It also increased momentum to enshrine social transition and access to medical treatments in mi-

  nors, whether or not these are prudent or evidence-based approaches.

         90.     Rather than encourage scholarly debate, the American Academy of Pediatrics has

  gone to great lengths to suppress its own members’ concerns about gender-affirming treatments

  (Mason 2022). When an AAP fellow explained in the Wall Street Journal how the AAP had

  quashed member resolutions to conduct a systematic evidence review and reconsider its positional

  stance on “gender affirming care” (Mason 2022), the AAP’s President responded publicly with

  multiple mischaracterizations of the debate, distortions of the AAP’s own advice to clinicians, and

  divisive rhetoric characterizing those who urge caution as “anti-trans.” (Szilagyi 2022).

         91.     Organizations’ political activisms have important ramifications and create a false

  impression that gender-affirming treatment rests on strong and settled science. Two recent press




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  releases provide examples. The September 28, 2022 American Academy of Pediatrics (AAP) press

  release regarding the State of Oklahoma condemns any limits on gender-affirming health care.

  Defending scope of practice is typical for medical associations. Yet the press release frames these

  limits as discrimination based on gender identity, a moralized characterization of restrictions on

  care.

          92.    American Academy of Pediatrics’ opposition to Oklahoma’s limits on moral

  grounds (discrimination) fails to acknowledge ethical concerns regarding treatment of children

  with gender dysphoria. Those concerns of “gender affirming care” include large-scale, potentially

  irreversible damage to minors and a dysfunctional informed consent process that overstates the

  evidence of benefits and does not offer alternative treatments—all in a context in which many

  providers of gender affirming treatments do not even acknowledge that the recent surge in patients

  expressing gender dysphoria represents a never before-studied cohort without long term outcomes

  (Levine 2022). This is an example of competing moral frameworks, each express valid concerns.

  As such, a more appropriate perspective from a medical organization would be a call for reasoned

  dialogue to evaluate the moral claims on each side and examine the logic and data behind these

  moral frameworks and treatments. It is ethical to seek to find more cautious ways to care for and

  support youth with gender dysphoria or to seek a higher level of evidence before allowing minors

  to make permanent decisions regarding altering their bodies.

          93.    Curiously, the AAP statement invokes parental rights, but without clarifying if the

  AAP supports the very likely majority, who do not want hormonal or surgical treatment for their

  child’s gender dysphoria. This AAP statement misses an opportunity to show respect for those

  who disagree, and would rather frame these parents as biased against their own children, which is

  an indication of how politicized the AAP organization has become.




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         94.      The AAP has also demonstrated its politicization by publishing statements and join-

  ing amicus briefs across a range of political issues, including immigration (American Academy of

  Pediatrics 2017), affirmative action (Brief for Amici Curiae Association of American Medical

  Colleges et al. 2022), firearms (Letter to Chairman Patrick Leahy 2022), critical race theory (Trent

  et al. 2019, AAP Board of Directors 2020, AAP 2022), and climate change (Council on Environ-

  mental Health et al. 2015).

         95.      As the Liaison from the American Academy of Child and Adolescent Psychiatry to

  the American Academy of Pediatrics, I sat on the AAP’s Council on Communication and Media

  and witnessed the organization’s increased politicization firsthand.

         B. American Academy of Child and Adolescent Psychiatry

         96.      Like other medical organizations, the American Academy of Child and Adolescent

  Psychiatry (AACAP) has come out strongly for affirmative care, supporting the opinion that mi-

  nors have the emotional and cognitive development to consent to treatments that may have adverse

  lifelong consequences such as sterility. Yet when the question was mandatory life in prison in

  Miller v. Alabama, the AACAP (and the American Medical Association) Amicus Curiae (2012 p.

  2-3) claimed:

         Scientists have found that adolescents as a group, even at later stages of adoles-
         cence, are more likely than adults to engage in risky, impulsive, and sensation-
         seeking behavior. This is, in part, because they overvalue short-term benefits and
         rewards, and are less capable of controlling their impulses, making them suscepti-
         ble to acting in a reflexive rather than a planned voluntary manner. Adolescents are
         also more emotionally volatile and susceptible to stress and peer influences. In
         short, the average adolescent cannot be expected to act with the same control or
         foresight as a mature adult.

         97.      Unless this organization is willing to backpedal on its well-substantiated and well-

  documented arguments in Miller v. Alabama, how can it basically argue the opposite when it




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  comes to consent for irreversible treatment within the context of low-quality evidence and signif-

  icant risk of harm?

         98.     In 2018, Lisa Littman presented her research data at an American Academy of

  Child and Adolescent Psychiatry conference and received personal enmity which caused a col-

  league to remark he had never seen a presenter at a conference treated with such hostility. I did not

  attend live but later watched the presentation online and also heard the many demeaning and un-

  professional comments directed toward Dr. Littman.

         99.     Members of AACAP (and other organizations) who observe scholars being con-

  demned in this manner will certainly think twice before voicing their concerns about gender af-

  firming care. This polarization and moralization can create a “spiral of silence”: an appearance of

  agreement because a small but vocal moralizing group dominates the discussion (Noelle-Neumann

  1974). This is consistent with my experience. I have been told by a range of child psychiatrists,

  from very senior AACAP “life members” to residents in training, that they are unwilling to openly

  express their viewpoint, but they do not see data or logic supporting “gender-affirming” treatments.

         100.    The 2022 AACAP conference featured at least six presentations related to gender

  dysphoria or transgender patients, none presenting new research. Yet a research symposium was

  rejected which was to include prominent international gender dysphoria researcher and clinician,

  Riittakerttu Kaltiala, MD, PhD, Dr. Littman, and detransitioners. The AACAP program committee

  co-chair James McGough later indicated via a May 28, 2022 email that this highly unusual rejec-

  tion was in part due to “concerns” about the methods employed in several of the presentations and

  that detransitioners would be involved. It defies logic that the only time methods are a “concern”

  is when the results of the research raises questions about affirmative care. Furthermore, I am aware




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  of a number of presentations that have been accepted with the condition of making a small adjust-

  ment. The detransitioners as discussants could have easily been replaced as their only role would

  be to ask questions after the research was presented.

         101.    Dr. McGough indicates he took these concerns seriously. He referred concerned

  parties to “Aron Janssen, co-chair [of] the AACAP committee charged with taking the lead on

  trans issues.” Dr. McGough also noted that “Aron is also on the program committee.” As a program

  committee member “taking the lead on trans issues,” Dr. Janssen would have significant power to

  support or suppress presentations. Those concerned with free exchange of scholarly ideas should

  notice the words Dr. Janssen chose in his 2021 “Perspectives” article (Janssen 2021), where he

  characterized legislative and political endeavors to limit medical care as “malicious changes” that

  “provide fodder to perpetuate discrimination, fear, and exclusion.” He specifically states: “It is our

  ethical responsibility to respond to this assault”.

         102.    Dr. Janssen characterizes those arguing for caution regarding gender affirmative

  treatments as making “an effort to oppress.” Like other enthusiasts, Dr. Janssen displays his will-

  ingness to demonize those urging caution and exaggerates the evidence base.

         103.    For those not familiar with the proceedings of medical conferences, research sym-

  posiums are eagerly sought out by the medical societies. The program chair, Dr. McGough, has

  commented to me personally that research symposiums are by far the easiest type of presentation

  to be accepted. For this same conference, I also submitted, with Drs. Kaltiala and Littman, a pro-

  posal for a Special Interest Group presentation, which was to feature data on detransitioning. This

  proposal would have created a space for discussion of data that raised questions about affirmative

  care. The proposal was also silenced.




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         104.    For the October 2023 Conference, I offered Dr. Janssen the opportunity to be the

  discussant for a Clinical Perspectives session entitled International Perspectives on Care for Gen-

  der-Dysphoric Children & Adolescents. This presentation was to include researchers and clinicians

  from England, Sweden, and Finland, as healthcare authorities in each of these nations have dra-

  matically curbed the availability of gender affirming care for minors as a result of the systematic

  reviews of the evidence they collected. Dr. Janssen not only refused to participate, but he also

  rejected the request to suggest another committee member to serve as discussant. As a replacement,

  we submitted the proposed session with the past President of the American Academy of Pediatrics

  serving as a discussant. Again, this presentation was denied.

         105.    Similarly, I also submitted for the AACAP 2023 conference a research symposium

  with researchers from England, Sweden, and Finland: Epidemiology, Suicidality and co-morbidi-

  ties of Gender Dysphoria, New International Findings. This presentation was similarly rejected.

         106.    Even more revealing, the AACAP March 18, 2022 press release reveals the leader-

  ship’s strident position by remarking on an education bill, outside psychiatrists’ area of expertise.

  (AACAP 2022). AACAP’s statement used politicized, derogatory phrasing by calling Florida’s

  legislation the “Don’t Say Gay or Trans” bill. The press release quotes the current president of

  AACAP, who demonizes supporters of the bill as unconscionable and implies that the supporters

  “target and harm LGBTQ+ youth.” The American Academy of Child and Adolescent Psychiatry’s

  leadership moralizes the debate, uses polarizing language, and does not engage in forthright dis-

  cussion that must include skepticism, not just affirmation. Indeed, the AACAP has taken policy

  positions on a wide range of political issues, including climate change (AACAP Mar. 2022), gun

  control (AACAP June 2022), immigration (AACAP Oct. 2021, AACAP May 2018, AACAP Sept.




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  2017), affirmative action (Brief for Amici Curiae Association of American Medical Colleges et al.

  2022), and critical race theory (AACAP, proposal deadline June 1, 2023; AACAP Jan. 2023).

         C. American Psychological Association

         107.    The American Psychological Association has also taken seemingly contradictory

  positions on brain development in the context of two political issues: transgender care and the

  death penalty. The 2022 American Psychological Association Resolution on the Imposition of

  Death as a Penalty for Persons Aged 18 Through 20, Also Known As the Late Adolescent Class

  goes into significant detail regarding their position on brain immaturity through at least age 21:

            WHEREAS developmental neuroscience, including research on both the
            structure and function of brain development, establishes that significant mat-
            uration of the brain continues through at least age 20, especially in the key
            brain systems implicated in a person’s capacity to evaluate behavioral op-
            tions, make rational decisions about behavior, meaningfully consider the con-
            sequences of acting and not acting in a particular way, and to act deliberately
            in stressful or highly charged emotional environments, as well as continued
            development of personality traits (e.g., emotional stability and conscientious-
            ness) and what is popularly known as ‘character’.

  I removed the many citations for clarity, but they can be found in the original document. The APA

  Resolution continues:

         WHEREAS it is clear the brains of 18- to 20-year-olds are continuing to develop
         in key brain systems related to higher-order executive functions and self-control,
         such as planning ahead, weighing consequences of behavior, and emotional regu-
         lation. Their brain development cannot be distinguished reliably from that of 17-
         year-olds with regard to these key brain systems.

         108.    It is clear the American Psychological Association understands that the entire co-

  hort of minors submitting to irreversible hormones and surgeries has under-developed abilities to

  understand the risks and meaningfully consider the consequences. I agree with the American Psy-

  chological Association that these deficits maintain up until at least age 21, and the courts should

  take these impairments seriously in all contexts.




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         D. American Psychiatric Association

         109.    Political and social pressures are not new to this line of research and clinical care

  and do not come from only one political pole or fraction of society. Yet especially within the last

  decade, academia, including academic medicine, has become more tribal, more moralizing, and

  more likely to attempt to silence divergent opinions (Bindewald 2021).

         110.    I witnessed these dynamics personally at the American Psychiatric Association

  2022 annual conference. At the Clinical Perspective The Management of Adolescent Onset

  Transgender Identity: Should “Best Practices” Change on May 24, 2022, there was a preamble.

  In a practice I had never before seen at a conference, representatives from the American Psychiatric

  Association who were monitoring the event were asked by leadership to read a statement prior to

  the presentation indicating that the content of the presentation clashed with official proclamations

  of the organization. During this Clinical Perspectives, four speakers presented convincing data and

  opined that they questioned the evidence base and logic supporting current affirmative psycho-

  therapy and medicalized practice regarding the treatment of transgender youth.

         111.    Most of the audience respectfully sat while enjoying the thoughtful presentation.

  Yet a small crowd in the audience was disruptive. There were interruptions of the presentation by

  a member of the crowd who repeatedly provided his input. During the question-and-answer ses-

  sion, a series of “questions” were rather hostile ad-hominem statements towards the presenters.

  Only a tiny fraction of the questions responded to any of the evidence or viewpoints presented. I

  have never previously observed any comparable unprofessional behavior or hostility toward pre-

  senters in any medical or psychiatric conference.

         112.    The politicization of the American Psychiatric Association can also be seen in the

  many political positions taken by the organization, including climate change (Ursano et al., n.d.),




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  firearms (Letter to Chairman Patrick Leahy 2022, American Psychiatric Association Aug. 2019),

  affirmative action (Brief for Amici Curiae Association of American Medical Colleges et al. 2022),

  and immigration (American Psychiatric Association Stress & Trauma Toolkit).

         E. WPATH

         113.    The World Professional Association for Transgender Health (WPATH) is an inter-

  national, multidisciplinary, professional association whose reported “mission is to promote evi-

  dence-based care, education, research, public policy, and respect in transgender health.”3 WPATH

  Standards of Care (SOC) documents share some features with what a medical organization would

  call clinical practice guidelines. The 2011 edition of WPATH’s SOC documents are known as

  SOC-7, and the 2022 version is SOC-8. The authors of SOC-8 state: “The overall goal of SOC-8

  is to provide health care professionals (HCPs) with clinical guidance to assist [transgender and

  gender-diverse] people in accessing safe and effective pathways to achieving lasting personal com-

  fort with their gendered selves with the aim of optimizing their overall physical health, psycholog-

  ical well-being, and self-fulfillment.”

         114.    Well-being and self-fulfillment are ephemeral goals to apply to medical practice.

  WPATH frames essential aspects of its guidelines in vague, non-medical terms: WPATH claims

  that mental health symptoms are to be “addressed” before puberty blockers or hormones. (Coleman

  S62 ). “The adolescent’s mental health concerns (if any) that may interfere with diagnostic clarity,

  capacity to consent, and/or gender-affirming medical treatments have been addressed.” Yet the

  vague wording “addressed” is without any clear boundaries and enables enthusiastic practitioners

  to initiate treatment under almost any conditions.




  3
      World Professional Association for Transgender Health, Mission                    and   Vision,
  https://www.wpath.org/about/mission-and-vision (last accessed May 10, 2023).


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         115.    Dahlen et al. reviewed WPATH SOC-7 as part of a systematic review and quality

  assessment of international clinical practice guidelines for gender minority/trans people. They

  noted that WPATH SOC-7 “contains no list of key recommendations nor auditable quality stand-

  ards.” (Dahlen et al., 2021). Among the principal findings was that WPATH SOC 7 “cannot be

  considered ‘gold standard.”’ The WPATH review scored poorly on editorial independence, ap-

  plicability, and rigor of development. The review scored better on scope, stakeholder involvement,

  and clarity of presentation. The reviewers noted that WPATH and other international clinical prac-

  tice guidelines tended to prioritize stakeholder involvement rather than methodological rigor.

         116.    Among the implications were that “[c]linicians should be made aware that gender

  minority/trans health [clinical practice guidelines] outside of HIV-related topics are linked to a

  weak evidence base” and that “[o]rganizations producing guidelines and aspiring to higher-level

  quality could use more robust methods, handling of competing interests and quality assessment.”

         117.    Despite the well-known methodological weakness of SOC-7, WPATH created

  SOC-8 in a similar manner, only selectively using the conventions expected to create a trustworthy

  clinical practice guideline. In his report, Dr. Karasic claims: “These recommendations are evi-

  dence-based, informed by a systematic review of evidence and an assessment of the benefits and

  harms of alternative care options, as well as expert consensus.” (P9-10).

         118.    Yet contrary to Dr. Karasic’s claim, WPATH only selectively applies rigor to SOC-

  8. WPATH SOC-8 did not clearly document what reviews were attempted, raising the possibility

  that reviews were stopped or buried upon unfavorable results. WPATH SOC-8 obscures the most

  important element required for a trustworthy clinical practice guideline: the assessment of the

  strength of the evidence used to make recommendations. Hiding the strength of evidence obscures




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  critical data from readers trying to evaluate the evidence base for an organization’s recommenda-

  tions. (Murad 2017).

         119.    My analysis is supported by the British Medical Journal Investigations Unit’s re-

  view of the evidence for transgender treatments, including the WPATH SOC-8. (Block 2023). The

  British Medical Journal (BMJ) investigators interviewed Gordan Guyatt, M.D., an internationally

  recognized leader on systematic reviews and, in fact, the co-developer and first author of the orig-

  inal GRADE guidelines. BMJ also interviewed expert Mark Helfand, professor of medical infor-

  matics and clinical epidemiology at Oregon Health and Science University. Helfand noted that

  “WPATH’s recommendations lack a grading system to indicate the quality of the evidence—one

  of several deficiencies.”

         120.    This same BMJ article highlighted transparency issues with the guidelines: “Both

  Guyatt and Helfand noted that a trustworthy guideline would be transparent about all commis-

  sioned systematic reviews: how many were done and what the results were.” But whereas SOC-8

  claimed that the evidence was so limited regarding transitioning treatments for gender dysphoric

  youth that “a systematic review regarding outcomes of treatment in adolescents is not possible,”

  as Guyatt pointed out, “systematic reviews are always possible, even if few or no studies meet the

  eligibility criteria.” (BMJ 2023).

         121.    While SOC-8 is beyond the scope of this report to review completely, I must note

  four major concerns as a mental health professional:

                 a.      SOC-8 makes no analysis for why it prioritizes affirmation of gender iden-

                         tity over affirmation and acceptance of the physical sexed body. For clini-

                         cians and psychotherapists, these trade-offs are complex matters in devel-

                         oping adolescents and fundamental to treatment. SOC-8 treats the question




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                        as though it had a clear answer supported by the evidence: affirmation al-

                        ways. That is an answer based on ideology rather than clinical wisdom or

                        science.

                b.      SOC-8 suggests consumer-driven medical and surgical interventions and

                        deems these medically necessary without adequate supporting evidence. In

                        no other field of medicine does a life-altering intervention become medi-

                        cally necessary based on the desire of the patient.

                c.      SOC-8 normalizes self-mutilation via inclusion of “Eunuchs” as just an-

                        other non-binary category without any suggestion that these individuals re-

                        quire mental health assessment prior to any consideration of chemical or

                        surgical procedures.

                d.      SOC-8 downplays concerns related to de-transitioning.

         122.   There have been several other episodes I have learned about that have caused me

  to conclude that I do not feel comfortable relying on WPATH or its U.S. affiliate, USPATH, to

  guide my care of gender dysphoric patients.

         123.   For instance, it appears there are calls for ideological hegemony at USPATH. Zan-

  der Keig, a longstanding WPATH member and former chair of the USPATH advocacy committee,

  related on a public podcast that he received a call from Dr. Joshua Safer, a WPATH board member,

  former president of USPATH, and co-author of the 2017 Endocrine Society Clinical Practice

  Guidelines. (Heterodorx 2023). According to Keig, he had agreed to be an advisor to the Gender

  Dysphoria Alliance, an organization composed of transgender people, detransitioners, and re-

  searchers that is “committed to thoughtful and respectful dialogue” and hearing from multiple

  perspectives regarding gender dysphoria. Presumably because the Gender Dysphoria Alliance is




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  not unquestioningly “affirming” and includes voices of transgender individuals who are skeptical

  of WPATH’s guidelines, Dr. Safer asked Keig to resign from USPATH or threatened to remove

  him as chair of the USPATH advocacy committee due to advising the Gender Dysphoria Alliance.

  Keig also stated that Dr. Safer suggested that he (Keig) lie about the reasons for resigning. This

  instance is illuminating on multiple grounds. First, silencing a member of USPATH and cleansing

  USPATH leadership of dissenters brings into question the ethics and scientific integrity of Dr.

  Safer. This is made more concerning because Dr. Safer was an author of the Endocrine Society

  Clinical Practice Guideline and other scientific research articles promoting transgender care. Sec-

  ond, as in this episode Dr. Safer appears to be representing the USPATH board, this demonstrates

  an institutional problem. WPATH and USPATH claim to be open to scientific exchange and di-

  versity of thought, but their leaders risk termination if they are affiliated with a less politicized and

  ideological transgender group, such as the Gender Dysphoria Alliance.

          124.    Similarly, USPATH has clearly become an uncomfortable place for clinicians or

  researchers whose perspectives do not fall into a narrow ideological slice represented by USPATH

  (Ciszek 2021). In 2016, for instance, renowned psychologist Kenneth Zucker had his USPATH

  conference presentation drowned out by protestors because he had previously suggested that affir-

  mation-only therapy could cause gender dysphoric children to “persist” when they would other-

  wise have their gender dysphoria “desist.” After shutting down Dr. Zucker’s panel, the activists

  made demands to the USPATH board, which subsequently removed Dr. Zucker from remaining

  panels and apologized to the activists for allowing Zucker to attend the conference. The board thus

  rewarded the activists who silenced scholarly debate.




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         125.    Even prominent leaders at USPATH / WPATH like Laura Edwards-Leeper and

  Erica Anderson have acknowledged that, as they titled their Nov. 24, 2021 Washington Post arti-

  cle, “The Mental Health Establishment is Failing Trans Kids.” (Anderson 2021). USPATH and

  WPATH responded to the article by releasing an Oct. 12, 2022 joint statement condemning “the

  use of the lay press … as a forum for the scientific debate.” (WPATH/USPATH 2022). The board

  of USPATH then privately censured Anderson, who later resigned as president. (Bazelon 2022).

         126.    Based on these and other public accounts, I conclude that USPATH and WPATH

  are not scientific organizations that prioritize the search for truth and the safeguarding of vulnera-

  ble children, but instead are organizations that seem to prioritize preserving their image and en-

  forcing their advocacy positions.

         F. Endocrine Society

         127.    Similar to AACAP and AAP, it appears that the Endocrine Society also takes a

  polarized position and misstates the strength of the evidence regarding “gender affirming care.” In

  particular, the April 20, 2022 press release, “Endocrine Society Opposes Florida Department of

  Health Policy on Gender Dysphoria Treatment for Children and Adolescents,” reveals overstate-

  ments of the strength of evidence and creates the false appearance of consensus in the medical

  community. This statement mischaracterizes puberty delaying medication as a “safe, reversible

  and conservative approach.” This statement claims that attempts to restrict care are based on poli-

  tics, rather than acknowledging legitimate concerns. It is interesting that the organization cites the

  Endocrine Society’s own clinical practice guidelines. Endocrine Society’s guidelines themselves

  graded the supporting evidence as low or very low quality for their clinical recommendations.

         128.    Another area of concern is the relationship between WPATH and Endocrine Soci-

  ety. It appears that nine out of ten authors of the Endocrine Society Clinical Practice Guideline are




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  also WPATH leaders or authors. (Hembree 2017). This shows that a small number of physicians,

  empowered by these organizations, can create the false impression of broad consensus through

  campaigns of advocacy, especially when they believe they are fighting for a virtuous cause.

         129.    Dr. Shumer’s writings likely reflect the views of the enthusiasts in WPATH and the

  Endocrine Society. In his 2015 paper with Norman Spack, he states in the abstract that the 2014

  Pediatrics article by De Vries “should help to silence critics.” This word choice, to “silence crit-

  ics,” illustrates his disdain for those urging caution and perhaps also comfort with suppressing

  scholarly dialogue. In his conclusion Dr. Shumer states: “LGBT (Lesbian, Gay, Bisexual, Tran-

  sexual) rights have become the civil rights issue of our day. Transgender people, often the forgotten

  caboose on the LGBT train, are emerging and demanding competent and compassionate medical

  care.” (Shumer 2015). By his own admission, Dr. Shumer celebrates his work within a heroic

  framework of fighting forces of bias and discrimination, which increases risk for confirmation

  bias, selectively looking for evidence to substantiate already-held conclusions. This virtuous sense

  of self must at least raise concerns as to whether Dr. Shumer and other advocates engage in sober

  reviews of the evidence.

         130.    These professional organizations’ portrayal of medical interventions for gender

  dysphoria as both effective and virtuous has had a chilling effect on scholarly dialogue regarding

  gender dysphoria in the medical community.

         G. Medical Literature

         128.    Medical and psychiatric journal editors are surely aware of their affiliated profes-

  sional organizations’ policy statements and political advocacy. Since the Endocrine Society,

  American Academy of Pediatrics, American Psychiatric Association, and American Academy of

  Child and Adolescent Psychiatry have all been openly involved in political advocacy in support of




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  gender-affirming care, their journals are no longer scientifically neutral. This politicization is re-

  flected in the editors’ actions as medical and psychiatric journals have recently attempted to con-

  solidate favorable opinion toward gender-affirming treatments for gender dysphoria rather than

  promote open scholarly debate.

         129.    Not surprisingly, skeptical voices have been difficult to find within any of the jour-

  nals of the Endocrine Society, American Academy of Pediatrics, American Psychiatric Associa-

  tion, or American Academy of Child and Adolescent Psychiatry. Journal editors have wide discre-

  tion to filter topics that are covered in their journals by choosing what articles are sent for review,

  commentaries, clinical perspective, vetting Letters to the Editor, guiding what is included in the

  book review column, and setting policies. It is curious that there has been minimal dialogue ex-

  ploring the unanswered questions related to informed consent in medical journals associated with

  medical organizations. Instead, these matters are left to be discussed in academic journals not af-

  filiated with these organizations. (Latham 2022, Levine 2022).

         130.    The medical journal I follow most closely, The Journal of the American Academy

  of Child and Adolescent Psychiatry, has only published articles seeking conformity of thought

  with gender ideology and affirmative care and has not allowed actual scholarly dialogue to be

  voiced. This can be seen across commentaries (Dixon 2022), clinical perspectives (Turban 2017,

  Turban 2018), and book reviews (Suto 2021, Chilton 2021, Kim 2021).

         131.    The 2017 Turban article, for instance, provided the perspectives of transgender and

  gender nonconforming youth; reading that viewpoint can certainly be valuable for clinicians. Yet

  most striking were the youths’ ideological assertions, misunderstanding of the evidence, and pleas

  for their physicians to believe suppositions such as that “[s]exuality and gender are two different

  things. TOTALLY separate” and “[p]uberty blockers and cross-sex hormones can save my life.”




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  It also contained a pressure to join the movement: “Let me know that you are on my team.” These

  youth somehow have gotten the impression there is no doubt regarding the safety and efficacy of

  hormones and surgery. They also have the belief that changing society is the solution to their men-

  tal health challenges: “If I am depressed or anxious, it’s likely not because I have issues with my

  gender identity, but because everyone else does.” More striking was that the authors expressed

  agreement with the youths’ ideology. The authors conclude: “Likely due to a combination of mi-

  nority stress and dysphoria related to being ‘trapped in the wrong body,’ these young people are

  disproportionately burdened by depression, anxiety, and suicide attempts.” The authors contend

  depression, anxiety, and suicide attempts “likely” arise from minority stress and as a result of

  gender dysphoria (Turban 2017). Yet as detailed throughout this report and cited, it appears more

  likely that those with pre-existing psychological disturbance are more likely to later express gender

  dysphoria. (Bechard 2017, Diaz 2023, Littman 2018, Kaltiala 2015, Moradini 2022).

         132.    The Journal of the American Academy of Child and Adolescent Psychiatry even

  published a Commentary that pressured researchers to adopt progressive gender theories to “be-

  come allies” (Dixon 2022). It is curious but revealing that the participants seemed uninterested in

  core unanswered scientific questions, such as why individuals experience themselves as nonbinary

  or transgender. Conversely, the youth and authors used the commentary to push researchers to

  adopt ideology and allyship. These pressures on scholars are antithetical to the scientific method

  and have been a corrupting force in much recent research and academic dialogue regarding sex

  and gender. This politicized, low-quality scholarship has minimal credibility and is a prime exam-

  ple of how medical journals have prioritized advocacy and ideology over trustworthy science.

         133.    For example, with two child and adolescent psychiatric colleagues, in response to

  Dixon et al., we wrote a Letter to the Editor of the Journal of the American Academy of Child and




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  Adolescent Psychiatry discussing the problems with the article cited above; the journal editor re-

  fused to even send this letter out for review. Not only are the articles one-sided, but the peer review

  process regarding gender medicine within medical journals has become dysfunctional. Many re-

  cent examples show how prominent medical journals ignore significant weakness in methods, al-

  low erroneous conclusions, and overstate the strength of the evidence when articles support af-

  firmative care or related concepts (Biggs 2020C, Deangelo 2021, Kalin 2020, Giovanelli R. 2022).

  A few years ago, for instance, the Journal of the American Psychiatric Association published a

  study with an erroneous positive conclusion regarding gender surgeries in Sweden. The article

  prompted a flurry of letters to the editor that pointed out serious problems with the methodology

  and resulted in significant revision, including to the study’s central finding (Bränström 2020). As

  discussed above, in 2018, Lisa Littman published an article that revealed aspects of the rapid

  spread of gender dysphoria in adolescents. After this research was peer reviewed and published,

  the journal PLOS ONE had a re-editing of the publication with a commentary added. (Littman

  2019). This showed a disregard for the typical rules of scientific discourse because, importantly,

  this was not a correction; there was no finding of error, misconduct, or faulty methods with

  Littman’s original paper. As confirmed by the PLOS ONE re-review, Dr. Littman’s research meth-

  ods were unremarkable and comparable to other mental health research.

         134.    Precisely because of the data supporting Littman’s theories of Rapid Onset Gender

  Dysphoria, many advocates of medicalized treatment of youth with gender dysphoria appear to

  have panicked in an attempt to suppress scientific exploration rather than reformulate their own

  deeply held beliefs. Brown University also did not make any effort to defend Dr. Littman from

  attacks on her freedom to pursue science.




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         135.    This antagonism of Dr. Littman was not about her methods, but rather that her data

  indicated that gender dysphoria was spreading in a pattern consistent with social influence. The

  affidavit of whistleblower Jamie Reed (Reed 2022) shows how this worked on a direct level in a

  gender clinic: “Doctors at the Center would ignore and dismiss as social contagion the claims about

  the tics and multiple personalities; but then those doctors would uncritically accept the children’s

  statements about gender identity and place these children on puberty blockers and cross-sex hor-

  mones.”

         136.    Similarly, clinicians at the Tavistock center, which before its closure was the

  world’s biggest gender identity service, documented their own experience with similarly-named

  “adolescent onset” gender dysphoria. This involves gender dysphoric patients presenting without

  any noticeable symptom history prior to or during the early stages of puberty. (Hutchinson 2020).

  They further note how clinicians around the world are witnessing the phenomenon they call “ado-

  lescent onset gender dysphoria” and how unhelpful it is to suppress research or malign scholars

  who bring uncomfortable facts to light: “Unless we are free to discuss, explore, and research dif-

  ferential presentations of gender dysphoria, the range of interventions which might best serve each

  young person may not be available to them. We do not think that this is good enough for our

  patients.”

         137.    Dr. Littman’s other heresy was revealing how many parents perceive the gender-

  affirming approach to be dysfunctional. (Littman 2018). Now a similar controversy is brewing

  with another paper that provides data behind the ROGD concept, “Rapid Onset Gender Dysphoria:

  Parent Reports on 1655 Possible Cases” (Diaz 2023). This research documents parent reports from

  a convenience, non-neutral sample. Yet it explicitly discusses the disadvantages of such an ap-




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  proach and the rationale for publishing the data. Like Littman’s work, this data undermines theo-

  ries that gender identity is primarily biologically based, a theory advocated by Drs. Shumer,

  Karasic and Turban in their reports.

         138.      Research that runs counter to the prevailing orthodoxy causes panic among gender

  ideologues and activist scholars. Again, a mob has arrived to attempt to undermine credible re-

  search. This is an excerpt from the International Academy of Sex Research (IASR) listserv in

  response to the publication of the Diaz / Bailey article:

         Dear IASR members,
         In the interest of transparency, we want to communicate to the Membership about
         recent concerns regarding a publication in our official journal, the Archives of Sex-
         ual Behavior. On March 29th, the journal published an article authored by Suzanna
         Diaz & J. Michael Bailey entitled, “Rapid Onset Gender Dysphoria: Parent Reports
         on 1655 Possible Cases.” Since its publication, significant concerns about the ethi-
         cal conduct and integrity of the editorial process have been raised about this study.
         . . . [signed by] The IASR Executive Committee.
  (Bailey 2023).

         139.      This focus on the “editorial process” only seems to go one way on this issue, against

  exploration of the massive rise in gender dysphoria and against scholars like Dr. Bailey and es-

  teemed editors like Kenneth Zucker.

         140.      There are many more examples of politicization squelching scholarly research.

  This includes the firing and restricting of research data from Laura Favaro by City University of

  London as she attempts to research the perspective of academics with regard to gender issues. Ms.

  Favaro appears to have found a culture of fear and suppression regarding gender issue. As a result,

  this data is hidden and may never be revealed. (Sales 2023).

         141.      In February, UCLA researchers were forced by activists to pause or perhaps aban-

  don their study because it aimed to expose transgender individuals to different views of them-

  selves. The researchers “explained that ‘by demonstrating that body-self incongruence was linked



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  to brain structure and function, we aimed to help provide a biological basis and increase empathy

  for the life stories of transgender individuals.’” (Grant 2021). Yet the activists who helped shut

  down the research revealed their disdain for this basic research because in their minds: “It is sug-

  gestive of a search for medical ‘cure,’ which can open the door for more gatekeeping and restrictive

  policies and practices in relation to access to gender-affirming care.” (California LGBTQ HHS

  Network 2021).

         142.    Similar dynamics are in place even in newsletters. A colleague told me about a

  difficult experience with editors of the American Academy of Psychiatry and the Law Newsletter.

  The editors would not permit him to describe in his article the actual problematic behaviors of

  youth who declared themselves to be transgender in his inpatient unit. This silencing of actual

  clinical situations undermines the exchange of ideas on how to best provide clinical care.

         143.    Open inquiry is the ability to ask questions and share ideas without risk of censure.

  It is fundamental to medical research and scientific progress. Within medicine, the ability for con-

  structive disagreement and the expression of divergent opinions has withered with regards to ques-

  tions of biological sex, gender, and gender medicine.

         144.    Complex ethical issues regarding treatment of gender dysphoria deserve attention.

  Yet pressures to accept affirmation treatment as being the most virtuous and only effective ap-

  proach discourages good faith scholarly dialogue. Furthermore, the characterization of those who

  oppose gender affirming care as transphobic or hateful has been used to justify silencing scholars

  whose data or logic does not support the gender-affirming approach. This occurred with Lisa

  Littman. Former sex researchers have left the field due to the harassment and intellectual bullying

  they received (Soh 2021).




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            145.   My personal interactions with many thoughtful well-regarded psychiatrists display

  a full range of views. In my experience, most child and adolescent psychiatrists consider automatic

  affirmation inappropriate, even though many are willing to use affirmative approaches selectively.

  (Evans 2021). Most psychiatrists are willing to admit we don’t have enough research to really

  know how to proceed.

            146.   Within medicine and academia, we need to create space to allow input from those

  many, I believe the majority, who hold the opinion that logic and the evidence base do not support

  using the “gender affirming care” model to treat gender dysphoria in youth. We require a frank

  discussion of the moral issues involved, including moral hazards associated with medical treat-

  ments for gender dysphoria. Currently, I see little evidence of this sort of scholarly dialogue hap-

  pening.

  HOW ADVOCACY UNDERMINES SCIENTIFIC DISCUSSION AT MEDICAL
  ORGANIZATIONS

            147.   The major medical organizations involved with promoting “gender affirming care”

  have relinquished their former role of curators of neutral science with regards to gender dysphoria.

  They have adopted unproven theories, become advocacy organizations, and have used their pres-

  tige to support their approved opinions and ideology. They have made public statements dismiss-

  ing or even demonizing scholars who raise concerns. It cannot be seen as a coincidence that

  whereas there is serious debate throughout society and throughout the globe, little to none is to be

  found at the Endocrine Society, the American Psychiatric Association, the American Academy of

  Child and Adolescent Psychiatry, the American Academy of Pediatrics, or WPATH. Even more

  concerning, their respective journal editors, as shown, have also chosen advocacy over science.




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         148.    These advocates convinced the organizational leadership to support affirming care

  in large part by framing medicalized treatments for gender dysphoria as “rights” and “discrimina-

  tion” issues rather than an examination of evidence. This moralized and tribalized gender medicine

  and thereby stifled open exchange and silenced skepticism within medical journals. As these med-

  ical organizations put their prestige and influence behind this type of care, those overseeing con-

  ference programs, newsletters, and press statements and the editors of journals systematically dis-

  torted scholarly dialogue by promoting medical interventions. Moralizing and advocacy silenced

  concerned physicians, but most didn’t even know their organizations had staked out such extreme

  stances. Thus, the members of these professional medical organizations have never had an oppor-

  tunity to observe, or participate in, open and honest dialogue regarding the evidence for

  transgender care. As such, the positions of these organizations reflect mostly a tribal mentality and

  the politicization of gender affirming care. It does not reflect the views of members who have had

  a sober review of the evidence base and decided celebratory support of gender affirming care is

  warranted.

         131.    None of the medical journals of the organizations listed have meaningfully explored

  any of the theories underpinning adolescent transgender care. Levine (Levine 2023) recently listed

  the assumptions misrepresented as facts:

     •   The emergence of a trans identity is the result of reaching a higher level of self-aware-
         ness.
     •   Whether the trans-identity emerges in very young children, older children, teens, or ma-
         ture adults is authentic and will be lifelong.
     •   All gender identity variations are biologically determined and inherently healthy.
     •   The frequently co-occurring psychiatric symptoms are a direct result of gender incongru-
         ence (the so-called “minority distress” model).
     •   The only way to relieve, or prevent, psychiatric problems is to alter the body at the earli-
         est signs of puberty.
     •   Psychological evaluations and attempts to address psychiatric comorbidities should only
         be used to support transition.



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     •   Attempts to resolve gender dysphoria with psychotherapy range from ineffective to harm-
         ful.
     •   Gender-dysphoric youth must have unquestioning social, hormonal, and surgical support
         for their current gender identities and desired physical appearance.
     •   All individual embodiment goals, even those that do not occur in nature, must be fulfilled
         to the full extent technically possible.
     •   Science has proven the benefits of early gender transition, and low rates of regret and de-
         transition further validate the practice.


  Exploring the assumptions listed by Levine should be the top priority of medical journals. If the

  journals were scientifically neutral, this dialogue would have occurred prior to making recommen-

  dations based on weakly supported theories.

         149.    I offer examples of the kinds of discussions that should be occurring with frequency

  in the medical organizations with regard to how best to treat young people suffering from gender

  dysphoria, but sadly are not.

                                                Psychotherapy

         150.    Patients presenting with gender dysphoria have real symptoms, typically with other

  comorbid mental health disorders. These patients require validation and support. I recommend

  their mental health treatment start with psychosocial supports and psychotherapy (Schwartz 2021).

  In psychiatry, we typically refer to other providers such as social workers, psychologists, and li-

  censed clinical therapists, who tend to provide the bulk of psychotherapy. Despite this, as noted in

  my background, I have extensive experience with psychotherapy and received additional training

  in a number of psychotherapies (talk therapies) including Cognitive Therapy, Rational Emotive

  Behavior Therapy, and Trauma-Focused Cognitive Behavioral Therapy. I also have training and

  experience in meditation and mind-body techniques including mindfulness meditation, trauma fo-

  cused yoga, and Accelerated Resolution Therapy. It should also be noted I trained under and




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  worked for over a decade with former AACAP president Martin Drell, MD. Dr. Drell was inti-

  mately involved in training at LSU and ensured my training emphasized psychodynamic therapy

  and family therapy. Dr. Drell is a renowned psychotherapist among child and adolescent psychia-

  trists. I have experience utilizing psychotherapies, moreover I have taught psychotherapy to med-

  ical students and psychiatry residents for years. This background and experience distinguishes me

  from the majority of psychiatrists.

         151.    Quality psychotherapy includes the process of exploring patient life history, emo-

  tions, coping style, and thought patterns. This includes validating how patients feel, but it also

  includes teaching patients to not be guided solely by their feelings. Psychotherapy involves getting

  patients to recognize their own thought patterns, disturbed emotions, and, when appropriate, in-

  cludes challenging irrational, self-defeating, and harmful beliefs.

         152.    There is not an evidence base to support strictly “affirmative” psychotherapy for

  gender dysphoria, where therapists actively agree with a patient’s self-assessment. Automatically

  agreeing with patient viewpoints is a radical departure from traditional mental health treatments

  and psychotherapy. Psychiatrists do not “affirm” hopelessness in depression, delusions in schizo-

  phrenia, or distorted body image in anorexia or body dysmorphic disorder. The similarities be-

  tween body dysmorphic disorder and gender dysphoria, and the contrast in how they are ap-

  proached, provide significant evidence of how ideological and political forces have influenced

  medical practice (Kohls 2022).

         153.    Is it, for example, sensible, compassionate, or good medical practice to, for in-

  stance, soon after a sexual assault, automatically agree with a teen’s new self-assigned gender

  label? What about when a nine-year-old girl who spontaneously says, “I feel like I am a boy”—do

  we immediately ask what boy name to call the child?




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         154.    In psychotherapy with a patient with gender dysphoria, the therapist should neither

  advise a patient to change gender identity nor “agree” that a patient is the opposite sex. It is surely

  reasonable and compassionate for a psychotherapist to prefer a patient no longer to suffer with

  gender dysphoria. It would be inappropriate for a mental health professional to prefer gender dys-

  phoria to continue. Yet, the false binary of affirmative psychotherapy versus conversion therapy

  for gender dysphoria is being used to push therapists away from consideration that acceptance of

  one’s biological sex or resolution of gender dysphoria is a positive event.

         155.    This categorizing of quality psychotherapy as conversion therapy is a serious mis-

  understanding of the complexities of ethical and effective psychotherapy (Schwartz 2021, D’An-

  gelo 2021). The term “conversion therapy” is often misused by the supporters of affirmative care

  as an attempt to devalue and pathologize approaches other than purely affirming a patient’s gender

  self-identification (Griffin 2021, Evans 2020). The only conversion therapy which has ever been

  researched is the attempt to change, or convert, sexual orientation. Such conversion therapy is

  widely discredited, which is perhaps why lodging accusations of conversion therapy has been so

  effective at creating an all-or-nothing atmosphere concerning “gender affirming care.”

         156.    For example, in Page 6 of his report Dr. Schumer details his ideology regarding

  gender identity, including claims that “attempts to force transgender people to align their gender

  identity with their birth sex (sometimes described as conversion therapy) have been found to be

  both harmful and ineffective.”

         157.    However, Dr. Schumer only cites two studies, one authored by Dr. Turban, in which

  the limited methodology of an online, retrospective self-report in a non-representative sample can’t

  support Dr. Shumer’s claims. Firstly, regarding the effectiveness of therapies to help individuals




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  come to peace with their biological sex. If those therapies labeled conversion therapy were effec-

  tive, those individuals exposed would not be present in the 2015 transgender survey. Thus, the

  cited study cannot say anything about effectiveness, because those successfully treated would no

  longer have transgender status, and thus would never have filled out the survey.

          158.    Secondly, retrospective self-report of a non-representative sample is such weak

  data that similar methodology (retrospective report from non-representative samples) is exceed-

  ingly rare in any peer-reviewed medical literature other than transgender medicine.

          159.    Dr. Schumer uses this weak evidence as substantiation for his claims, displaying he

  has not given substantial thought to the basic premises which underlie the gender affirming care

  he provides. This was on clear display during his deposition where he displayed his ignorance of

  the studies he cited regarding psychotherapy (p. 59 – 23 to p. 60 line 3). Regarding his theory that

  efforts to change gender identity are harmful and ineffective, when he lacks citations, Dr. Shumer

  turns to the supposed eminence of professional organizations: “These medical associations I know

  and respect, who have done more work than me trying to answer that question, have come to the

  conclusion that, no, it is not safe or effective.” (60 20-23).

          160.    Turban and Karasic make similar claims painting psychotherapy as harmful and

  ineffective, again without any substantial support. Dr. Turban and Karasic in their reports make

  attempts to frame psychotherapy as “conversion.” Dr. Karasic indicates medical authorities claim

  that “efforts to change gender identity are ineffective, can cause harm and are unethical.”(P 7).

  None of his citations provide data to back up this claim.

          161.    Dr. Karasic and Dr. Turban claim that it is unethical to help a person come to accept

  the reality of their biological sex. Approaches to get patients to accept and live comfortably with

  their bodies have a longstanding tradition in mental health treatments. Body positivity and body




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  acceptance are laudable goals and do not cause harm to healthy bodies as the gender affirming

  treatments using puberty blockers, hormones and surgeries do.

          162.   On page 17 of his report, Turban claims practices, termed “gender identity conver-

  sion efforts” have subsequently been linked to adverse mental health outcomes, including suicide

  attempts.

          163.   Dr. Turban cites his own flawed article to make claims about psychotherapy, which

  cannot be determined via the non-representative, retrospective online self-report he cites. Turban

  uses the softer wording that gender identity conversion efforts are “linked” with adverse outcomes

  and suicide. Firstly, there is no detail on what those surveyed experienced that they considered

  conversion therapy. Secondly, “linked” is all he can say because the actual connection is only

  retrospective self-report, which is notoriously unreliable.

          164.   Gender identity is often described as fluid, and as this implies, often changes over

  time, particularly in young people. When this was discussed in his deposition, Dr. Turban did not

  take the opportunity to clearly explain how gender is both fluid and biologically determined, nor

  what studies he believes resolve this paradox. (P21 line 17-25).

          165.   Gender identity fluidity is also why it is unwise to affirm a declared gender identity

  in a child.

          166.   Psychotherapists need space to ask questions about gender identity. Exploring gen-

  der identity is not conversion therapy.

          167.   Time-tested and widely effective psychotherapy approaches include supportive

  therapy or cognitive behavioral therapy. Cognitive behavioral therapy has proven effective for

  virtually every mental health condition it has been researched for, including the full range of anx-




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  iety disorders, depressive and mood disorders, disturbed anger, sleep disturbance and trauma re-

  actions including Post Traumatic Stress Disorder. Due to the high levels of comorbidity of psychi-

  atric disorders in patients with gender dysphoria, cognitive behavioral therapy could be extremely

  helpful as the same approach and techniques have proven effective with so many problems includ-

  ing anxiety and depression and in reducing self-harm.

          168.    Any psychotherapy should aim to help individuals gain a deeper understanding of

  themselves, develop coping skills, and provide a neutral, unbiased process. Beyond standard psy-

  chotherapies, more specific and nuanced approaches for gender dysphoria exist, such as Explora-

  tory Therapy (https://genderexploratory.com/). This “talking therapy” allows time for exploration

  of mental health concerns without pushing an ideological or political agenda.

          169.    Advocates of affirmative treatment and their dismissal of other approaches can be

  especially harmful in the cases of gender dysphoria presenting in the context of severe pre-existing

  psychiatric illness.

                                              170.     TRAUMA

          171.    A child’s gender expression can be a reaction to trauma rather than an intrinsic

  identity to be strictly “affirmed.” This is what is termed diagnostic “overshadowing” in the Cass

  Interim Report of the United Kingdom’s review of services for gender dysphoric youth: “Another

  significant issue raised with us is one of diagnostic overshadowing—many of the children and

  young people presenting have complex needs, but once they are identified as having gender-related

  distress, other important healthcare issues … can sometimes be overlooked.” (Cass 2022, p. 17).

              172.       Psychotherapy could lead to the resolution of these comorbid illnesses. Psy-

                  chotherapy is well known as a standard treatment for anxiety and depression. I can




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                 provide three examples where distraction from standard treatment can harm pa-

                 tients, trauma, autism, and personality disorders.

             173.         Trauma: There is longstanding psychiatric literature showing that exposure

                 to sexual trauma can lead to changes in gender expression (Cosentino 1993), and

                 this has also been revealed by recent research on detransitioners (Littman 2021). A

                 recent review on Dissociative Identity Disorder and co-occurring gender dysphoria

                 showed frequent childhood sexual abuse (Soldati 2022). Thus, rather than allowing

                 clinicians flexibility to proceed as longstanding clinical wisdom would dictate, ad-

                 vocates of affirmative treatment discourage discussion of the relationship between

                 trauma and gender dysphoria. This affirmative model pressures clinicians to steer

                 away from exploration whether a trauma reaction is the primary problem.

         174.    Relatedly, a core feature of Post-Traumatic Stress Disorder (PTSD) is avoidance,

  and in some patients, adoption of a transgender identity may be a method to avoid addressing the

  suffering caused by a trauma, such as a sexual assault. While this avoidance may temporarily block

  some negative feelings, in the long run, continued avoidance can lead to terrible consequences and

  a failure to resolve the trauma reaction. Repeatedly patients have described to me their physical

  and emotional distress when they are exposed to trauma reminders. Thus, they frequently have

  difficulty engaging in psychotherapy for PTSD. Even if they participate, they often actively avoid

  discussing their trauma.

         175.       The massive rise in expressions of gender dysphoria has been most pronounced in

  adolescent females. This is a population where assessment for and treatment of trauma should be

  a top priority. Furthermore, based on the link between sexual abuse and gender dysphoria seen in

  detransitioners, assessment and treatment of trauma symptoms should be prioritized. It is possible




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  that for many patients the delivery of trauma-based psychotherapy may cause the desistence of

  gender dysphoria, which in some cases could be considered a co-occurring disorder related to the

  trauma.

         176.    Struggles to get patients engaged in the best treatment is unfortunate as trauma fo-

  cused therapies such as Trauma Focused Cognitive Behavioral Therapy have an excellent evidence

  base. Clinicians need to consider whether, especially for adolescent onset natal females, adopting

  a transgender identity is prompted in part due to avoidance. This is because expressing gender

  dysphoria within a medical system promoting gender affirming treatment forces the focus toward

  the gender identity and away from past trauma, trauma reactions, and fears of the future.

                                                    Autism

         177.    Autism Spectrum Disorders are neurodevelopment disorders. People with Autism

  Spectrum Disorder, by definition, have problems with social communication and interaction, along

  with restricted or repetitive behaviors or interests. People with Autism Spectrum Disorders are

  consistently shown to be at increased risk for developing gender dysphoria. (Cooper 2022). One

  review found gender dysphoria to be over four times as likely in patients with Autism Spectrum

  Disorders. (Hisle-Gorman et al. 2019). Another review found that compared to typically develop-

  ing controls, autistic adults who endorsed the wish to be the opposite sex were found to have more

  mental health challenges, bullying, suicidal ideation, and worse quality of life. They also had worse

  autism symptoms and more co-morbid disorders than autistic adults who did not report the wish

  to be the opposite sex.

         178.    Autistic people experiencing gender dysphoria are a complex patient cohort. There

  is limited evidence of how best to help and support this specific population. Due to the neurocog-




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  nitive limitations in patients with Autism Spectrum Disorders, they may be more suggestible. Au-

  tistic patients struggle socially and often spend large amounts of time online. Due to their rigid and

  obsessive thought patterns, if they develop gender dysphoria, they can become fixated and preoc-

  cupied with receiving hormonal or surgical procedures, whether or not they understand the risks.

  Adolescent patients with Autism Spectrum Disorder can be incredibly insistent, single-minded,

  and determined. They also may have limited insight and minimal ability to anticipate the negative

  consequences of obtaining the object of their obsessions. Clinicians from Tavistock reported youth

  with Autism Spectrum Disorder need more time in assessment, which “may be illustrative of neu-

  rodivergent children needing more clinician-facing time to convey their experience” as they de-

  velop identity on different timelines and through different frameworks than neurotypical peers.

  (Churcher-Clark 2019). Until more is known about the specific outcomes related to this vulnerable

  population, caution with any clinical approach is warranted.

                                      Borderline Personality Disorder

         179.    Personality Disorders are enduring patterns of inner experience and behavior that

  deviate from expected and cause distress and impairment in functioning. The epidemiology of

  personality disorders in individuals with gender dysphoria is unknown and estimates vary. (Fur-

  long 2022). Many estimates of personality disorders in transgender populations have dramatically

  increased, such as 50% of adults, but others show smaller increases. One review of emergency

  room visits of transgender patients with diagnosed personality disorders was at 4%, versus a

  matched community sample at 1%. The hospitalized sample was at 5% among transgender patients

  versus 2% in controls. (Lam 2021). Little scholarly guidance exists regarding specific approaches

  related to the various personality disorders with comorbid gender dysphoria.




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           180.   In Borderline Personality Disorder there is, by definition, an unstable sense of self,

  and this leads to frequent personality changes. This typically means sudden shifts in employment,

  relationships, sexual identity, frequent moves, and changes in types of friends. Patients with Bor-

  derline Personality Disorder often have early-life trauma and find many social environments in-

  validating. Patients with Borderline Personality Disorder have high levels of emotional dysregu-

  lation, self-harm, and substance use. This population is extremely difficult to treat.

           181.   With an unstable sense of self being a feature of the disorder, this patient population

  seems an especially poor candidate for affirming treatments, especially irreversible treatments.

  There are two psychotherapeutic approaches that have shown significant success. The most estab-

  lished is Dialectical Behavioral Therapy (Gillespie 2022), but Mentalization Base Therapy (Vogt

  2019) also has significant evidence as a successful approach.

           182.   Especially for a young person developing signs of Borderline Personality Disorder,

  starting these proven approaches as early as possible is their best chance of avoiding a life course

  full of emptiness, struggle, and suffering. Again, in this patient population, a focus on gender-

  affirming treatments as the solution to this constellation of serious mental health problems is ex-

  tremely problematic and appears likely to cause harm if it delays access to evidenced-based treat-

  ments.

           183.   Psychotherapy is an excellent treatment choice for youth with gender dysphoria.

  Yet in his report, Dr. Turban (p. 9) suggests, “Other than the gender affirming medical care banned

  under S.E.A. 480 there are no evidence-based treatments for adolescents with gender dysphoria.”

  Turban is precise and narrow in his language here because psychotherapy has been shown to be

  generally effective for many disorders. Psychotherapy just has not been systematically studied as




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  a solo treatment for gender dysphoria, mainly because up until recently the patient population has

  been so small.

          184.     Shumer, Turban and Karasic want the medical community to generalize the results

  of Dutch researchers on a narrowly defined small cohort of early onset gender dysphoria. Yet

  most youth presenting to gender clinics are adolescent onset females with significant co-morbidi-

  ties, a very different patient population. Yet Shumer, Turban and Karasic refuse to generalize lit-

  erally thousands of studies showing the positive results of psychotherapy to the current cohort of

  youth expressing gender dysphoria. For example, a recent review of meta-analysis of cognitive

  behavior therapy (CBT) yielded a final sample consisting of 269 meta-analyses (Hoffman 2012)

  that showed broad and deep efficacy of CBT. Please note the breadth and depth of this research:

  not 269 original studies, 269 meta-analyses of CBT. This review examined CBT for: substance

  use disorder, schizophrenia and other psychotic disorders, depression and dysthymia, bipolar dis-

  order, anxiety disorders, somatoform disorders, eating disorders, insomnia, personality disorders,

  anger and aggression, criminal behaviors, general stress, distress due to general medical condi-

  tions, chronic pain and fatigue, distress related to pregnancy complications and female hormonal

  conditions. The results are there to see, and while variation of effectiveness exists across condi-

  tions, CBT consistently proves its effectiveness (David 2018). Yet proponents of gender affirming

  treatments claim no therapy, CBT or otherwise would work for Gender Dysphoria. One has to

  wonder why they would stake out an extreme position so hostile to treatment so likely to be effec-

  tive.

          185.     Furthermore, many of the gains which are claimed to come from medical treatments

  for gender dysphoria likely come from non-specific treatment factors, placebo effects, or concom-




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  itant psychotherapies. Because this patient cohort has so many co-morbidities, prioritizing hazard-

  ous medical treatment targeting gender identity over treating other disorders has no empirical basis

  and leads to other conditions being untreated or undertreated. This is what Dr. Cass described as

  “diagnostic overshadowing.” (Cass 2022, p. 17). Supportive or other psychotherapies treating

  these other conditions entails minimal risk and does not require lifelong alteration of one’s body.

                                            Identity Development

         186.    Identity development is a primary task of teenagers. Erickson (Erickson 1968)

  noted this over 50 years ago, and identity involves many various self-concepts. Identity can in-

  clude what neighborhood or school a teen associates with, what racial, ethnic, or religious group

  they arise from, what political or ideological groups one associates with and the many academic,

  extracurricular, work, or leisure activities that one engages in. Personal identity development

  evolves through interactions over time with many aspects of the world which provide meaning,

  provide socialization, and prompt self-assessment of one’s place in society. Adults can look back

  at their life to realize how much their identity has changed since they were children or teenagers.

         187.    The development of sexual orientation for gay, lesbian, and bisexual youth can be

  one part of identity development that is particularly difficult during adolescences. The current

  mental health crisis, especially affecting teenage girls, is an indication that identity development

  struggles have increased overall.

         188.    Healthy identity development would not over-focus on one aspect of self. As hy-

  per-social creatures, humans play different roles in our varied settings; educational, work, leisure,

  family, and communities. An over-intense focus on gender identity appears particularly harmful

  in the context of overall identity development.




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         189.    Gender affirming care can negatively affect every stage of development as life be-

  comes focused around gender identity. This seems especially problematic in youth struggling to

  form a multifaceted identity due to mental health problems like autism, trauma reactions, depres-

  sion, or anxiety. These youth need support, and space to grow up prior to locking in lifelong med-

  icalization of their gender identity, perhaps at the expense of not developing functional aspects,

  such as educational excellence, productive work skills, well-rounded leisure pursuits, and purpose

  and meaning through supportive communities. The availability of gender affirming care derails

  these developmental processes, and the sometimes difficult but necessary struggles that all teen-

  agers face as they mature into adults.

                                           CONCLUSION

         190.    It is a scientific and medical consensus that patients with gender dysphoria typically

  also have a mix of anxiety, depression, self-harm, personality disorders, neurodevelopmental dis-

  orders, and trauma-related symptoms. These mental health problems generally pre-date or co-oc-

  cur with the development of gender dysphoria.

         191.    There is not a scientific or medical consensus that comorbid mental health disorders

  are due to “untreated” gender dysphoria, although this “minority stress” theory is frequently cited.

  The political nature of this minority stress claim goes along with the social justice ideology fre-

  quently expressed by advocates of gender affirming care.

         192.    These same advocates of affirming care claim that medical transition, and only

  medical transition, will resolve these youths’ mental health problems. They claim that gender dys-

  phoria in adolescents is eternally fixed and will not resolve. These theories do not have substantial

  supporting data.




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         193.      When claims are made that there exists a scientific and medical consensus support-

  ing gender affirming care for gender dysphoria, this rests on the assertions of a small group of

  physicians who are already personally invested in this type of care. Those already providing hor-

  mones and surgeries have extremely powerful reasons to want to believe affirmative care is ethical

  and effective.

         194.      When aligned with economic and ideological forces, a small group of physicians

  can wield disproportionate influence. The modern medical system does make serious mistakes at

  scale, and considering the many unknowns, physicians should be taking a cautious approach. Yet

  many physicians are unwilling to adopt a cautious approach, and thus legislative action is required.

         195.      Psychotherapy is a valid alternative mental health approach to medicalized treat-

  ments for gender dysphoria in youth. Existing psychotherapeutic approaches have already shown

  effectiveness treating anxiety, depression, self-harm, trauma reactions such as Post-Traumatic

  Stress Disorder and Borderline Personality Disorder, all which are frequent comorbidities. These

  established approaches could be augmented with more recently developed techniques, including

  mindfulness-based therapies, mind-body techniques, and specific exploratory therapies. Family

  therapy and support for parents should also become a mainstay of treatment. There is reason to

  suspect that psychotherapies can have better overall outcomes in treating gender dysphoria than

  medicalized approaches.

         196.      Shumer, Karasic and Turban all make predictions about harms that will come when

  these treatments are banned. In reality, a ban returns us to the situation that has existed all through-

  out human history, where human personal identity will develop into adulthood without chemical

  and surgical alteration of their secondary sex characteristics. Puberty blockers, hormones, and sur-

  geries for youth are not medically necessary.




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         197.    Many young people want more ability to express themselves as they please as it

  pertains to sexuality and gender expression. It is agreed that we need to create space for gender

  non-conforming individuals in our society. Yet that does not need to include medicalized treat-

  ments of gender dysphoria in youth. The context of this includes the recent overall rise in depres-

  sion, anxiety, and self-harm. All this shows that we are not meeting the needs of our youth, and

  there are problems in our society and culture.

         198.    In the debate regarding treatments for gender dysphoria, the medical system should

  apply standard rules of evidence and proceed with caution. Whistleblowers in the United States

  (Reed 2022) and what has been revealed about gender clinics elsewhere (Barnes 2022) have made

  anyone paying attention realize we do need “Time to Think.” It was a terrible mistake to roll out

  affirmative treatment for gender dysphoria via fiat from advocates, WPATH, and medical organi-

  zations without rigorous scholarly dialogue. Pausing treatment will give us that time to reconsider

  our medicalized approach to gender dysphoria in youth.




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                               CURRICULUM VITAE

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     Education

     Graduate/Medical: St. George’s University
     School of Medicine, Grenada, West Indies
     Medical Doctor                                          January 1995- June 1999

     Undergraduate: Columbia College,
     Columbia University
     New York, NY,
     Bachelor of Arts, Biochemistry                          September 1988-May 1992

     Postgraduate Training

     Clinical Fellowships:
     Fellow, Forensic Psychiatry (PGY6)
     Louisiana State University Medical Center
     1542 Tulane Ave., New Orleans, LA 70112                 July 2004 to June 2005

     Fellow, Child and Adolescent Psychiatry (PGY 4-5)
     Louisiana State University Medical Center
     1542 Tulane Ave., New Orleans, LA 70112                 July 2002 to June 2004

     Chief Resident in Child and Adolescent Psychiatry
        x Acted as liaison between Child Psychiatry Fellows and Administration
        x Coordinated with Program Director lecture and rotation schedules
                                                             July 2003 to June 2004

     Residency:
     Resident, Psychiatry (PGY 2-3)
                                                 1
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     University of Medicine and Dentistry-
     New Jersey Medical School
     185 S Orange Ave, Newark, NJ 07103                        July 2000- June 2002

     Internship: (PGY 1)
     University of Medicine and Dentistry-
     New Jersey Medical School
     185 S Orange Ave, Newark, NJ 07103                        July 1999- June 2000

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        x   Board Certification in General Psychiatry, awarded 2004, active

        x   Specialty Board Certification Child and Adolescent Psychiatry, awarded 2005,
            active

        x   Specialty Board Certification Forensic Psychiatry, awarded 2007, active


     Awards, Honors, Honorary Society Memberships:

     Department of Veterans Affairs Special Contribution Award for Clinical Service in
     Psychiatry
                                                              February 22, 2002

     Outstanding Resident Award, Presented at the American Academy of Child and
     Adolescent Psychiatry, Miami, Florida,
                                                             October 17, 2003

     Inducted into Berkeley Preparatory School Athletic Hall of Fame, Tampa, Florida,
                                                                November 7, 2003

     Fellow, Louisiana State University Academy for the Advancement of Educational
     scholarship
                                                             October 2007 – 2016

     Best Doctors, Louisiana in the subspecialty of Child and Adolescent Psychiatry
                                                                Awarded 2007, 2008, 2009,
                                                                2010, 2011, 2012, 2013,
                                                                2014, 2015 and 2016

     Best Doctors, in Tampa Florida
                                                               2017, 2018, 2019, 2020,
                                                               2021, 2022




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     Awarded status as a Distinguished Fellow of the American Academy of Child and
     Adolescent Psychiatry
                                                              July 6, 2016

     Appointments:

     Associate Professor, University of South Florida Medical School, Department of
     Psychiatry.                                                September 2016 to present

        x   Supervise one afternoon weekly of outpatient Child and Adolescent Psychiatry
            Silver Center Resident Clinic with USF General Psychiatry Residents and Child
            and Adolescent Psychiatry fellows who performed assessment, consultation, and
            treatment.
        x   Supervise one morning clinic of outpatient general psychiatry at the USF OPC
            Clinic who performed assessment, consultation, and treatment.
                                                            o February 2023 to present

     Tampa General Hospital Psychiatrist on Duty                 September 2016 to present
            Manage the night, weekend and holiday clinical responsibilities of Tampa
     General Hospital including the over 1000 bed hospital and a 24-hour emergency room.
     Usually done in partnership with a psychiatric resident from the University of South
     Florida.

     Facility Psychiatrist. Tampa Residential Facility           September 2016 to present
        x Performed psychiatric evaluations and treatment in Florida’s juvenile correctional
             system. Tampa Residential Facility is the most intensive level of mental health
             and substance abuse treatment, subcontracted to Truecore Solutions.

     Facility Psychiatrist. Les Peters Academy Residential Facility
                                                                May 2017 to present
        x Performed psychiatric evaluations and treatment in Florida’s juvenile correctional
             system, subcontracted to Truecore Solutions.

     Staff Psychiatrist, Orleans Parish Justice System           March 2018 to July 2018
         x Performed telepsychiatric evaluations and treatment in Orleans Parish Prison
             correctional system, subcontracted to Correct Care Solutions.

     Facility Psychiatrist. Charles Britt Academy Residential Facility
                                                                 November 2019 to July 2022
             •Performed psychiatric evaluations and treatment in Florida’s juvenile
             correctional system, subcontracted by Sequel.

     Facility Psychiatrist. Columbus Youth Academy Residential Facility
                                                                 June 2020 to present
             •Performed psychiatric evaluations and treatment in Florida’s juvenile
             correctional system, subcontracted by Sequel.

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     Louisiana State University Health Science Center Assistant Professor of Clinical
     Psychiatry                                                 July 2005 to June 2017

     Louisiana State University Health Science Center Associate Professor of Clinical
     Psychiatry                                                July 2016 - 2017

     Mental Health Medical Director, St. Charles Community Health Center, Luling,
     Louisiana                                                   July 2005 to 2016
            x Evaluated and treated a primarily Medicaid and underserved population of
               adult, child and adolescent patients in a Federally Qualified Health Care
               Center.

     Coordinator for Child and Adolescent Integrated Mental and Behavioral Health Services,
     Louisiana Mental and Behavioral Health Capacity Project
                                                               September 2012 to July 2017
        x Performed assessment, consultation, training, prevention, and education services
            to Federally Qualified Health Centers and community clinics in Coastal
            Louisiana.
        x Evaluated and treat both on site and using remote video conferencing equipment
            (telehealth).

     Staff Psychiatrist, Back-up coverage, Louisiana Juvenile Justice System July 2016 to
     September 2022
         x Performed psychiatric evaluations and treatment in Louisiana’s juvenile
             correctional system, subcontracted to Wellpath (formerly Correct Care Solutions).
         x Back up on call coverage for on-site psychiatrists
         x As needed evaluated and treated remote video conferencing equipment
             (telehealth).

     Staff Psychiatrist, Louisiana Juvenile Justice System       July 2010 to July 2016
         x Performed psychiatric evaluations and treatment in Louisiana’s juvenile
             correctional system, subcontracted to Correct Care Solutions.
         x Evaluated and treated both on site and using remote video conferencing
             equipment (telehealth).

     Staff Psychiatrist on Duty                                  October 2011 to July 2016
     Children Hospital, Calhoun Campus. New Orleans, Louisiana
         x Facilitated development of protocols and supervision regarding the training of
             Medical Students, General Psychiatry Residents and Child and Adolescent
             Psychiatric Fellows who utilize the Calhoun unit as primary training site for Child
             Psychiatry.
         x Manage night and weekend clinical responsibilities for Children’s Hospital
             emergency room and Inpatient Psychiatric Unit, including individually assessing
             all inpatients each weekend.


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     Staff Psychiatrist, Louisiana State University Juvenile Justice Program
                                                                   July 2005 to August 2010
         x Performed psychiatric evaluations and treatment in Louisiana’s juvenile
             correctional system at Bridge City Center for Youth and Jetson Center for Youth.
         x Evaluated and treated both on site and using remote video conferencing
             equipment (telehealth).

     Staff Psychiatrist, Florida Parish Juvenile Detention Center,
                                                               July 2007 to August 2010
        x   Performed psychiatric evaluations and treatment using remote video conferencing
            equipment (telehealth).

     Medical Officer on Duty                                      July 2002 to July 2005
     New Orleans Adolescent Hospital. New Orleans, Louisiana
     •      Managed clinical responsibilities of Crisis Intervention Services, a 24-hour
     emergency mental health response team serving families, children and adolescents from
     the Southeast Louisiana region.
     •      Managed two psychiatric inpatient units including a twenty bed adolescent and
     ten bed children’s unit after hours on call.
     •      On call physician for Crisis Respite, a short term residential facility for children
     and adolescents located on hospital grounds.

     Psychiatrist on Duty                                       September 2003 to July 2005
     New Orleans Veterans Administration Medical Center, New Orleans, Louisiana
        x Managed clinical psychiatric responsibilities of a 450 bed hospital
        x Managed clinical psychiatric responsibilities of a 27 bed inpatient psychiatric unit
        x Managed clinical psychiatric responsibilities of 24-hour emergency room

     Psychiatrist on Duty                                        September 2001 to June 2002
     New Jersey Medical Center Veterans Administration
        x East Orange Medical Center, East Orange, NJ
     Managed clinical psychiatric responsibilities of 24 hour emergency room along with a
     295 bed hospital, 30 Nursing Home and 30 Domiciliary beds.
        x Lyons Hospital, Lyons, NJ
     Managed clinical psychiatric responsibilities of 356 bed hospital.

     Teaching, Lecture

     Undergraduate Medical Student

     BMS6920.002, BMS6920.001 University of South Florida: Created five session elective:
     “Mind Body Medicine” Developed as part of University of South Florida medical school
     elective curriculum from 2017-2022. Offered for up to 12 students as a credited elective
     including study guide, organizing readings, and experiential class learning.
                                                                 2017 to 2022


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     At Louisiana State University Health Science Center New Orleans:

     4 one-hour lectures instructing all Medical Students (MS2) in Child and Adolescent
     mental health during Psychiatry Basic Science block
                                                          February 2004 to February 2016

     LSU Physical therapy
     Annual 2 two-hour lectures on a range of mental health topics annually
                                                                2012 to 2016

     LSU Public Health
     Annual 2 hour lecture on psychopharmacology to incoming Masters Level students in
     Public Health
                                                             2012 to 2016

     Graduate Medical Teaching

     MEL 8602 C65 M: Child and Adolescent Psychiatry

     Child and Adolescent Psychiatry Resident Teaching:

            Arranged and co-instructed Forensics Lecture Series, bi-annually 10 lecture hours
     and 4 hours of individual lectures.
                                                               2016 to present.

            Teach various topics within residency training. 1 lecture per year.

                                                                  2016 to present.

     University of South Florida General Psychiatry Residency:

     Co-Produced elective track for 2 residents per year within University of South Florida
     Psychiatry Residency. Supervision of Integrative Psychiatry residents within the
     University of South Florida’s Integrative Psychiatry Track, biweekly sessions utilizing
     curriculum from the Andrew Weil Center for Integrative Medicine.
                                                                 July 2020- present

     Forensic Psychiatry Resident Teaching:

     Teach child and corrections related forensic topics within residency training. 4 lectures
     per year.
                                                                  2018 to present.

     LSUHSC New Orleans, General Psychiatry Resident Teaching




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        x   Created and taught one hour weekly (44 weeks per year) Cognitive Behavioral
            Therapy practicum for PGY 3 residents
                                                              2007 to 2016
        x   One hour lecture on evolution and mood disorder each year for PGY3 residents
                                                              2010 to 2016

     LSUHSC New Orleans Child and Adolescent Psychiatry Resident Teaching

        x   One-hour didactic lectures on psychopharmacology for 8 weeks and cognitive
            behavior therapy for 4 weeks bi-annually
                                                                2008-2016
        x   Organized and taught majority of the year-long bi-weekly one hour didactic
            program entitled Special Topics including a wide range of topics including
            development, forensic psychiatry, evolution, anthropology, nutrition, effects of
            technology, electronic media, sleep, exercise and physical activity, wellness and
            systems of care.
                                                                2008 to 2016


     LSU- Kenner Family Practice Residency:
     Once yearly didactic lectures for 1 to 2 hours for Kenner Family Practice Residents
                                                                 2009 to 2016

     Created one session Mini-Course: “Optimizing Neurocognition through Nutrition.”
     Developed and co-facilitated a module as part of Goldring Center for Culinary Medicine
     curriculum for medical students and other trainees with Annie Yeh, MD). Offered as a 1
     credit elective for Tulane medical students including study guide, organizing readings,
     online webinar to be viewed prior to class, case studies during class and test.
                                                                  2014

     At Louisiana State University Health Science Center New Orleans: Core Clinical
     Psychiatry Rotation Lecture, 1 hour lecture presented to MS3 students every six weeks to
     3rd year medical students covering Child Psychiatry Basics.
                                                                 October 2003 to June 2005

     At University of Medicine and Dentistry- New Jersey Medical School, Department of
     Psychiatry
     •       Lecture: “The Media and Psychiatry” for General Psychiatry Residents, created as
     part of the Culture and Psychiatry Seminar
                                                               August 2001 and 2002

     Teaching, Supervisory

     At University of South Florida, Tampa Florida:

     Medical Student supervision

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     University of South Florida -                              2017 to present
     MEL 8109 L69 M
     BCC 7154 002 M Psychiatry / Neurology Clerkship. Medical Students rotation through
     clinic one afternoon weekly of outpatient Child and Adolescent Psychiatry Silver Center
     Resident Clinic

     Psychiatry Elective, 2 to 4 week Medical Student rotation through Child and Adolescent
     Psychiatry Silver Center Resident Clinic


     Graduate Medical Education Supervision

     Child and Adolescent Psychiatry Residency

     Supervise one afternoon weekly of outpatient Child and Adolescent Psychiatry Silver
     Center Resident Clinic with USF Child and Adolescent Psychiatry residents who
     performed assessment, consultation, and treatment.
                                                              September 2016 to June 2021

     Supervise one afternoon weekly of outpatient Child and Adolescent Psychiatry
     correctional psychiatry with USF Child and Adolescent Psychiatry residents who observe
     clinical care in juvenile correctional facilities.
                                                              September 2016 to present

     General Psychiatry Residency:

     Supervise one afternoon weekly of outpatient Child and Adolescent Psychiatry Silver
     Center Resident Clinic with USF General Psychiatry Residents who performed
     assessment, consultation, and treatment.
                                                              September 2016 to present

     Forensic Psychiatry Resident Teaching

     Supervision of forensic psychiatry trainees within the University of South Florida
     forensic psychiatry training program. This includes review of resident competency
     evaluations along with co-evaluation of criminal defendants as individual cases arise.
                                                                 2018 to present

     At Louisiana State University Health Science Center New Orleans

     LSU- Kenner Family Practice Residency:
       x One month, once weekly half day mental health rotation at St Charles Community
           Health Center for all Kenner Family Practice Residents
                                                              2008 to 2016


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     Clerkship/Residency Directorship:

     Child and Adolescent Psychiatry Fellowship Training Director, Louisiana State
     University Medical Center. Oversaw and supervised resident physician training
     Managed administrative, evaluation and scheduling issues within the training program
     Collaborated with Louisiana State University psychiatric faculty to develop policies and
     procedures at various clinical site.
                                                                 July 2010 to September 2012

     Teaching Awards:

     Association for Academic Psychiatry Honorary Fellow
                                                                 October 2001- October 2002

     Louisiana State University Child and Adolescent Psychiatry Department Outstanding
     Teacher Award for the 2006-2007 academic year

     Louisiana State University Child and Adolescent Psychiatry Department Outstanding
     Teacher Award for the 2015-2016 academic year

     Peer to Peer: Institutional Grand Rounds

     “The Minds, They are a Changin’ – An Overview and Update on MDMA and Psilocybin
     Grand Rounds University of South Florida Psychiatry Department, Tampa Florida
                                                              January 28 2022

     “3 Simple Rules for Overcoming Obesity” University of South Florida Endocrinology
     Department, Tampa Florida
                                                             November 9, 2021

     “A hard pill to swallow: psychotropic medications in foster care”, University of South
     Florida, Department of Public Health, Tampa Florida
                                                                 November 3, 2017

     “Rules of Thumb: The importance of heuristic and cognitive biases in pediatric physical
     and mental health” Grand Rounds Children’s Hospital, New Orleans
                                                               July 30, 2014,

     Grand Rounds, Louisiana State University Department of Psychiatry, “Rules of Thumb,
     lifestyle interventions for mental health professionals.” New Orleans, Louisiana
                                                                  January 23, 2014

     “Just say No, the Case against Stimulant Medication” Grand Rounds Children’s Hospital,
     New Orleans, Louisiana
                                                               May 19th, 2010


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     “Violence: Neurobiology, Risk Assessment and Beyond”, Grand Rounds Louisiana State
     University Department of Psychiatry, New Orleans, Louisiana
                                                              August 9, 2012

     “Is ADHD a Nutritional Disorder”, Grand Rounds Louisiana State University
     Department of Psychiatry, New Orleans, Louisiana
                                                            July 28, 2011

     “Just say No, the Case Against Stimulant Medication”, Grand Rounds Louisiana State
     University Department of Psychiatry, New Orleans, Louisiana
                                                               July 29th, 2010

     Grand Rounds Department of Psychiatry, Louisiana State University School of Medicine,
     New Orleans, Louisiana “The Application of Darwinian Principles to Child Custody
     Evaluations”, New Orleans, Louisiana
                                                             May 26th, 2005

     “Attention Deficit Hyperactivity Disorder” Grand Rounds Department of Pediatrics,
     Louisiana State University School of Medicine, New Orleans, Louisiana
                                                              May 25th, 2005

     “The Media, Our New Social World, How Should Pediatricians Respond?” Grand
     Rounds, Louisiana State University School of Medicine, Children’s Hospital, New
     Orleans, Louisiana
                                                              June 2nd, 2004

     “Attention Deficit Disorder” for Louisiana State University Health Science Center
     Juvenile Corrections Program Continuing Medical Education Presentation via
     telemedicine New Orleans, Louisiana
                                                                 March 16th, 2004


     “The Media, Relationships to Children and Psychiatry”, Grand Rounds, Department of
     Psychiatry, Louisiana State University School of Medicine, New Orleans, Louisiana
                                                                June 4th, 2003

     “The Media, Relationships to Children and Psychiatry”, Grand Rounds, New Orleans
     Adolescent Hospital, New Orleans, Louisiana
                                                               March 28th 2003

     Lectures by Invitation

     “The Media, Relationships to Children and Psychiatry” Grand Rounds, University of
     West Virginia, Charleston, West Virginia, Department of Psychiatry and Behavioral
     Science
                                                              April 10th 2003

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     “The Media and Child and Adolescent Psychiatry –An Evolving Relationship” Chair and
     Presenter, Media Theatre, Annual Conference of the American Academy of Child and
     Adolescent Psychiatry
                                                              October 21st, 2004

     “The Media, Our New Social World, How Should Health Care Professionals Respond?”
     Continuing Medical Education Presentation Snowshoe Mountain Retreat, Snowshoe
     Mountain, West Virginia
                                                           September 19th, 2004

     “The Application of Darwinian Principles to Child Custody Evaluations” Grand Rounds
     Department of Psychiatry, University of South Florida, Tampa, Florida
                                                               October 31st, 2005

     “The Evaluation and Treatment of Traumatized Children and Adolescents with ADHD”
     Web Cast Presentation and Grand Rounds sponsored by the National Center for Child
     Traumatic Stress Network’s Rural Consortium, New Orleans, Louisiana
                                                             January 25th, 2007

     “Behavioral Disorder or Traumatized Child?” Louisiana Federation of Families for
     Children’s Mental Health, Children’s Mental Health Conference, Houma Louisiana
                                                              May 9th, 2008

     “Behavioral Disorder or Traumatized Child?” Grand Rounds Tulane University
     Department of Child Psychiatry, New Orleans, Louisiana
                                                            March 13th, 2009

     “Brother’s Little Helper: The Simpsons Satirizes Stimulant Medication as a Response to
     Childhood Behavior Problems” Media Theatre, Annual meeting of the American
     Academy of Child and Adolescent Psychiatry, New York, New York Kristopher Kaliebe
     MD, K. Dalope, MD
                                                                October 30, 2010

     “Violence Risk Assessment” Louisiana Psychiatric Medical Association Annual Meeting,
     New Orleans, LA
                                                             March 2, 2013,

     “Telepsychiatry in Juvenile Justice Settings” part of "Telepsychiatry: Challenges and
     Successes Across Settings." Clinical Perspectives, Annual meeting of the American
     Academy of Child and Adolescent Psychiatry, Orlando FL
                                                  October 22, 2013

     “What are they Missing, When Electronic Media Displaces Sleep, Academics and
     Exercise” part of “Identifying and Treating Internet-Related Mental Health Problems:



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     An Evidence-Based Approach” Clinical Perspectives. Annual meeting of the American
     Academy of Child and Adolescent Psychiatry, Toronto, Canada
                                                             October 24, 2014

     “The Implications of the Pharmacological Treatment of Children” Michigan Drug Court
     Annual Conference, Lansing, Michigan
                                                              March 12, 2014

     “Three rules to prevent and treat ADHD symptoms” as part of the Louisiana ADHD
     Symposium, organized by the Louisiana Department of Health and Hospitals ADHD
     Task Force, Baton Rouge, Louisiana
                                                              December 9, 2014

     “Non-Pharmaceutical Interventions for ADHD”, Invited Professorship: St George’s
     University School of Medicine Complementary and Alternative Medicine Selective, St
     George’s, Grenada, West Indies
                                                             August 28 – Sept. 3rd, 2014

     “Screen Time and Childhood Behavior: Disruptive Influence or Easy Scapegoat” as part
     of “Caught in the Net, How Electronics effects Mental Illness” Chair and Presenter,
     Clinical Perspectives, Annual meeting of the American Academy of Child and
     Adolescent Psychiatry, San Diego, California
                                                                October 30, 2014

     “The Management of Childhood Obesity” and “Disordered Eating in Children and
     Adolescents” Oregon Psychiatric Medical Association Conference, Portland, Oregon
                                                              February 27 and 28, 2015

     “Rules of Thumb: 3 Simple Rules to Optimize Physical and Mental Health” National
     Alliance for the Mentally Ill Louisiana Annual Conference, New Orleans, Louisiana
                                                                April 17, 2015

     “ADHD overdiagnosis in Louisiana, a child and adolescent psychiatrist’s perspective”
     Preventing Overdiagnosis Conference, National Institutes of Health (NIH), Bethesda
     Maryland
                                                                September 2, 2015

     “An alternative to diagnosis-based practice in pediatric mental health” Preventing
     Overdiagnosis Conference: National Institutes of Health NIH Bethesda Maryland
                                                                 September 2, 2015

     “Shell Shocked: Growing up in the Murder Capital of America”. Discussant for Media
     Theatre, Annual meeting of the American Academy of Child and Adolescent Psychiatry,
     Holly Peek, MD, Kristopher Kaliebe, MD San Antonio, Texas
                                                             October 29, 2015



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     “Screen Time and Childhood Behavior: Disruptive Influence or Easy Scapegoat” as part
     of “Caught in the Net, How Electronics effects Mental Illness” Chair and Presenter,
     Clinical Perspectives, Annual meeting of the American Academy of Child and
     Adolescent Psychiatry, San Antonio, Texas
                                                                October 31, 2015

     “What are they (we) Missing? When Electronic Media Displaces Sleep, Academics, and
     Exercise” Grand Rounds University of South Florida Psychiatry Department, Tampa
     Florida
                                                              November 12th, 2015

     ADHD overdiagnosis in Louisiana, a child and adolescent psychiatrist’s perspective,
     Louisiana Psychological Association, New Orleans, LA
                                                              May 20, 2016

     “Rules of Thumb: 3 Simple Rules to Optimize Physical and Mental Health” Crohns and
     Colitis Association of America Regional Conference, New Orleans, LA,
                                                             June 12, 2016

     “Evaluating and Assuring the Effective and Safe Use of Psychotropic Medications in
     Children” Webinar: National Council of Juvenile and Family Court Judges, with Judge
     Constance Cohen; Janie Huddleston and Dr. Joy Osofsky, Ph.D.
                                                               June 24, 2016,

     “Psychotropic Medications 101: What Judges Need to Know for Effective Decision
     Making” Florida Child Protection Summit, with Melinda Sczepanski, Orlando FL
                                                             September 9, 2016

     “Communicating With the Media and the Public as Child and Adolescent Psychiatrists
     Around Disaster and Highly Traumatic Events.” Workshop, Annual meeting of the
     American Academy of Child and Adolescent Psychiatry, Media Training Workshop,
     New York, New York
                                                             October 27, 2016

     “Evolutionary Biology is a Basic Science for Child and Adolescent Psychiatry” Special
     Interest Group, Annual meeting of the American Academy of Child and Adolescent
     Psychiatry, New York, New York
                                                               October 28, 2016

     “Is War Ever Really Over? War-Affected Youth From Home to Host Country”,
     Discussant, Clinical Perspectives. Annual meeting of the American Academy of Child
     and Adolescent Psychiatry, New York, New York
                                                               October 28, 2016




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  “Psychotropic Medications 101: The pertinent essentials for all involved in the child
  welfare system” Florida Child Protection Summit, with Melinda Sczepanski, Orlando,
  Florida
                                                             August 30, 2017

  “Safe Use of Psychotropic Medications in Children.” 2017 Safe Babies Court Teams
  Cross Sites Meeting, Fort Lauderdale, Florida
                                                           August 17, 2017

  “Health Promotion in Pediatric Mental Health” Discussant, Clinical Perspectives, Annual
  meeting of the American Academy of Child and Adolescent Psychiatry, Washington, DC
                                                            October 23, 2017

  “New Technologies, New Laws, New Childhood” as part of “Clinical Guidelines for
  Navigating Media Use” Clinical Perspectives, Annual meeting of the American Academy
  of Child and Adolescent Psychiatry, Washington, DC
                                                           October 24, 2017

  “Screen Time and Childhood Behavior: Disruptive Influence or Easy Scapegoat” as part
  of “Caught in the Net, How Electronics effects Mental Illness” Chair and Presenter,
  Clinical Perspectives, Annual meeting of the American Academy of Child and
  Adolescent Psychiatry, Washington, DC
                                                             October 26, 2017

  “The Business of News, the Role of Child and Adolescent Psychiatrists in the Media, and
  Risk Communication.” Member Services Forum, Annual meeting of the American
  Academy of Child and Adolescent Psychiatry: Washington, DC
                                                           October 27, 2017

  “Caught in the net: a child psychiatrist’s guide for navigating the internet age.”,
  Workshop, International Association for Child and Adolescent Psychiatry and Allied
  Professions, Prague, Czechoslovakia
                                                                July 27, 2018

  Chair, Clinical Perspectives, Annual meeting of the American Academy of Child and
  Adolescent Psychiatry, “Caught in the Net: How Digital Media Shapes Mental Illnesses
  in Youth and How Psychiatrists Should Respond.” Seattle, Washington
                                                            October 24, 2018

  “Self-Care in the Child Welfare System” YMCA/Safe Children Coalition Conference,
  with Catarlyn Glenn, Sarasota Florida
                                                         April 18, 2019

  “Psychotropic Medications 101: The pertinent essentials for all involved in the child
  welfare system” Florida Child Protection Summit, with Catarlyn Glenn, Orlando Florida
                                                             December 17, 2019

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  “Caught in the Net: How Digital Media Interacts with Mental Illness in Children and
  Adolescents”, Annual Conference of the Florida Psychiatric Society, Tampa, Florida
                                                            September 21, 2019

  “Effective Strategies for Higher Education and Beyond” Clinical Perspectives, Annual
  meeting of the American Academy of Child and Adolescent Psychiatry, Mastering
  Information Flow for Transitional-Age Youth (TAY): as part of “Promoting Digital
  Citizenship in Transitional-Aged Youth (TAY) and College Students”, Chicago, IL
                                                            October 19, 2019

  “Caught in the Net: How Digital Media Interacts with Mental Illness”, virtually presented
  at the Andrew Weil Center for Integrative Medicine, Tucson, Arizona
                                                            April 1, 2020

  “A deeper dive into child and adolescent psychopharmacology for families and
  professionals involved in the child welfare system” Florida Child Protection Summit,
  with Catarlyn Glenn. Orlando, FL
                                                              September 3, 2020

  “Screenagers: Next Chapter – How Online Behaviors Affect Depression and Anxiety
  Disorders in Adolescents”, Media Theater (virtual) Annual meeting of the American
  Academy of Child and Adolescent Psychiatry
                                                            October 19, 2020.

  “Helping Child Psychiatrists Navigate the Internet Age”, “Career Focus: Setup Your
  Own Telepsychiatry Practice”, “COVID-19 Related Psychiatric Issues”
  Oasis Child and Adolescent Psychiatry Conference, Charleston, SC
                                                             May 17, 2021

  “Conversation about health information, COVID, news, and related topics”, discussant
  and breakout group leader, Digital Media and Mental Health Research Virtual Retreat
                                                            May 24th 2021

  “The Social Dilemma: Helping Families Navigate the Pull, Pulse, and Power of Social
  Media”, Media Theater, Annual meeting of the American Academy of Child and
  Adolescent Psychiatry, Virtual
                                                           October 29, 2021

  “Appealing Applications for Adolescent Mental Health: Social Media's Transformation
  During the COVID-19 Pandemic”, Discussant, Clinical Perspective, Annual meeting of
  the American Academy of Child and Adolescent Psychiatry, Virtual
                                                           October 25, 2021




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  “Angry Young Men, Common Threads in Different Types of Extremist Groups” as part
  of Political Extremism & Hate Group Recruitment of Adolescents”, Clinical Perspective,
  Annual meeting of the American Academy of Child and Adolescent Psychiatry, Virtual
                                                          October 26, 2021

  “Angry Young Men: Boys and Adolescent Males with Disruptive and Aggressive
  Behavior”, “Nutritional Child Psychiatry” Oasis Child and Adolescent Psychiatry
  Conference, Charleston, SC
                                                            May 1st / 2nd, 2022

  “Sexts, Lies & Videogames: Adolescent Boys, the Internet, & Mental Health” Chair and
  presenter on violence and young men: Clinical Perspective, Annual Meeting of the
  American Academy of Psychiatry Annual Meeting, New Orleans, LA
                                                             May 25, 2022

  “Assessing and Addressing Digital Distraction, Misinformation, and Disarray”, part of
  the Social Media Institute, Annual Meeting of the American Academy of Psychiatry
  Annual Meeting, Toronto, CA October 19, 2022

  Licensure:

  Florida Medical License, expires January 31st, 2024

  Federal DEA Controlled Substances License             12/31/2023

  Certification: ECFMG Certificate 0-573-532-9

  Forensic Training:

  Florida Forensic Examiner Training completed through the University of South Florida
  Department of Mental Health Law and Policy
                                                           August 15-17, 2019

  Certifications in Psychotherapy:

  Basic Practicum in Rational Emotive Behavior Therapy completed at the Albert Ellis
  Institute in New York, NY
                                                          July 13, 2003
  Advanced Practicum in Rational Emotive Behavior Therapy completed at the Albert Ellis
  Institute in New York, NY
                                                          July 20, 2003

  Associate Fellowship in Rational Emotive Behavior Therapy completed at the Albert
  Ellis Institute in New York, NY,
                                                          July 15, 2005



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  Accelerated Resolution Therapy, Basic Training
                                                                  April 1-3, 2017

  Accelerated Resolution Therapy, Enhanced Training
                                                                  Sept 31, October 1, 2018

  Accelerated Resolution Therapy, Advanced Training
                                                                  October 2,3, 2018

  American Association of Medical Colleges Medical Education Research Certificate
                                                          October 13th, 2010


  Scholarly Activity

  Funded block grants

  Co-investigator on the Mental and Behavioral Health Capacity Project from September
  2012 to June 2017

  Unfunded research

  Supervisor mentoring Medical Students:

  University of South Florida IRB: Faculty Advisor Co Investigator May 2021

          What is the impact of coronavirus confinement on Japanese college students’ mental
          health? STUDY002335

  University of South Florida IRB: Faculty Advisor Co Investigator May 2021
         Changes in college aged students’ metabolic health due to Covid-19 confinement
          STUDY002341


  PI as student supervisor, STUDY004118, IRB approved as Exempt Status, Palliative Care
  Patients’ Attitudes & Openness to Psilocybin assisted Psychotherapy for Treatment of Existential
  Distress, Julia Wang


  Journal Publications:

  Peer Reviewed

  Kaliebe, Kristopher and Adrian Sondheimer. "The media: Relationships to psychiatry
  and children." Academic Psychiatry 26.3 (2002): 205-215.

  Kaliebe, Kristopher "Rules of thumb: three simple ideas for overcoming the complex
  problem of childhood obesity." Journal of the American Academy of Child & Adolescent
  Psychiatry 53.4 (2014): 385-387.

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  Kaliebe, Kristopher. “Dr Kaliebe Replies”, Journal of the American Academy of Child
  & Adolescent Psychiatry, (2014) 53:10 1134.

  Kaliebe, Kristopher "The Future of Psychiatric Collaboration in Federally Qualified
  Health Centers." Psychiatric Services (2016): appi-ps.

  Kaliebe, Kristopher, and Josh Sanderson. "A Proposal for Postmodern Stress Disorder."
  The American journal of medicine 129.7 (2016): e79.

  Osofsky, Howard J., Anthony Speier, Tonya Cross Hansel, John H. Wells II, Kristopher
  E. Kaliebe, and Nicole J. Savage. "Collaborative Health Care and Emerging Trends in a
  Community-Based Psychiatry Residency Model." Academic Psychiatry (2016): 1-8.

  Yeh, Y. Y. and K. Kaliebe. "Impact of Nutrition on Neurocognition." Southern medical
  journal 109.8 (2016): 454.

  K. Kaliebe Expanding Our Reach: Integrating Child and Adolescent Psychiatry Into
  Primary Care at Federally Qualified Health Centers. J Am Acad Child Adolesc
  Psychiatry. 56.11 (2017)

  Kass, R. and Kaliebe, K., Stress and Inflammation: New Perspectives on Major
  Depressive Disorder. JAACAP Connect, p.22. Winter 2020

  Tamburello, A., Penn, J., Negron-Muñoz, R., & Kaliebe, K. (2023). Prescribing
  Psychotropic Medications for Justice-Involved Juveniles. Journal of Correctional Health
  Care.

  Case Reports, Technical Notes, Letters

  Books, Textbook Chapters:

  Weigle, P., Kaliebe, K., Dalope, K., Asamoah, T., & Shafi, R. M. A. (2021). 18 Digital
  Media Use in Transitional-Age Youth: Challenges and Opportunities. Transition-Age
  Youth Mental Health Care: Bridging the Gap Between Pediatric and Adult Psychiatric
  Care, 357.


  Invited Publications

  “Telepsychiatry in Juvenile Justice Settings”, K Kaliebe, J Heneghan, T Kim, Child and
  Adolescent Clinics of North America, 20 (2011) 113-123

  American Academy of Child and Adolescent Psychiatry (AACAP) Committee on
  Telepsychiatry and AACAP Committee on Quality Issues. Clinical Update:
  Telepsychiatry With Children and Adolescents. J Am Acad Child Adolesc Psychiatry.
  2017 Oct; 56(10):875-893. Epub 2017 Jul 25. PMID: 28942810.

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  Kaliebe, Kristopher and Paul Weigle. "Child Psychiatry in the Age of the Internet."
  (2017). Child and Adolescent Psychiatric Clinics of North America, April 2018Volume
  27, Issue 2, Pages xiii–xv

  Gerwin, Roslyn L., Kristopher Kaliebe, and Monica Daigle. "The Interplay Between
  Digital Media Use and Development." Child and Adolescent Psychiatric Clinics 27.2
  (2018): 345-355.


  Other Research and Creative Achievements:

  Poster Presentations:

  “Collaborative Child and Adolescent Psychiatry within Primary Care Clinics in Coastal
  Louisiana” Poster, Annual meeting of the American Academy of Child and Adolescent
  Psychiatry, Kristopher Kaliebe MD, Joy Osofsky, PhD; Howard Osofsky, MD, PhD;
  Lucy King, BA; Tonya Hansel, PhD, San Antonio, TX
                                                            October 29, 2015

  “Benefits of Integrating Young Child Psychiatric Services Into Primary Care Clinics in
  Underserved Communities” Poster, Annual meeting of the American Academy of Child
  and Adolescent Psychiatry, New York, NY Joy Osofsky, PhD; Howard Osofsky, MD,
  PhD; Lucy King, BA; Tonya Hansel, PhD, Kristopher Kaliebe MD
                                                             October 28, 2016

  “Integrating child and adolescent psychiatry into community based primary care
  networks”, Poster, International Association for Child and Adolescent Psychiatry and
  Allied Professions, Prague, Czechoslovakia Kristopher Kaliebe MD
                                                              July 25, 2018

  “ The Prevalence of the Adverse Childhood Experiences (ACE) in Florida Youth
  Referred to the Department of Juvenile Justice” Poster, Annual meeting of the American
  Academy of Psychiatry and the Law, Greg Iannuzzi, MD, Mark Greenwald, PhD,
  Kristopher Kaliebe MD
                                                            October 25, 2018

  Other articles:

  “LSU’s Breakfast Club emphasizes education and recruitment into Child and Adolescent
  Psychiatry”, American Academy of Child and Adolescent Psychiatry News,
                                                    January 2004
  "Trix are for Kids!", American Academy of Child and Adolescent Psychiatry News,
                                                    May, 2013
  Expanded Psychiatric Care Can Transform Federally Qualified Health Centers, American
  Psychiatric Association News,
  ......                                            Published online June 17, 2016

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  News Stories on Suicide, Fictional Content may Increase Risk for Contagion, Hansa
  Bhargava and Kristopher Kaliebe, American Academy of Pediatrics News, Mastering
  the Media Column,
                                                     Published online July 10, 2019


  Webinars and creation of enduring materials:

  Rules for Optimal Health, Webinar, University of South Florida Quality Parenting
  Initiative, Florida's Center for Child Welfare Information and Training Resources for
  Child Welfare Professionals, released
  ......                                               December 11, 2017

  Florida's Center for Child Welfare Information and Training Resources, webinars series
  on pediatric mental health for child welfare professionals and caregivers, Kristopher
  Kaliebe with Catarolyn Johnson;
  ......                                                June 1, 8, 15, 22 and 29, 2020

  “Don’t just sit there- Adapt and Optimize in a post Covid world” University of South
  Florida Global Health Conversation Series, presented virtually
                                                             September 22, 2020

  Service

  Membership in Professional Organizations:

  Member, American Academy of Child and Adolescent Psychiatry (AACAP),
                                                2000 to present

  AACAP Media Committee member
                                                      2003 –2021

  C0-Chair, AACAP Media Committee
                                                      2013-2021

  Media Committee Liaison to the Complementary and Integrative Medicine Committee of
  the AACAP
                                                 2012 to 2019

  Liaison to the Committee on Communications and Media of the American Academy of
  Pediatrics, from American Academy of Child and Adolescent Psychiatry (AACAP)
                                                  2015 to 2022

  Member Association for Behavioral and Cognitive Therapies
                                                   2004 – 2016



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  Member American Academy of Psychiatry and the Law
                                                 2004 to present

  Member Zero to Three
                                                       2017 to 2021

  Member Louisiana Council for Child Psychiatry (LCCP)
                                                   2003 to 2016

  Louisiana Council for Child Psychiatry (LCCP)

  Secretary-Treasurer
                                                       March 2010-March 2014

  President
                                                       March 2014- June 2016

  Member, American Psychiatric Association
                                                       2000 - 2012 , 2021 to present

  LSUHSC Psychiatry Interest Group Faculty advisor
                                                       2008 to 2012


  University of South Florida Medical School Integrative Medicine Student Interest Group
  faculty advisor
                                                     January 2020 to present

  University of South Florida Medical School Mindfulness and Meditation in Medicine
  Group faculty advisor
                                                    January 2022 to present

  University of South Florida Interdisciplinary (university wide) Psychedelics Interest
  Group faculty advisor
                                                       March 2022 to March 2023

  Editorial Posts and Activities:
         Journal editorships, Reviewer

  LSUHSC Institutional Review Board alternate reviewer 2008-2012

  Safety Committee Member, Accelerated Resolution Therapy for Treatment of
  Complicated Grief in Senior Adults, University of South Florida
                                                                  2017-19




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  Expert reviewer for Adolescent Psychiatry Thematic Special Issue: Coming of Age
  Online: Challenges of Treating the Internet Generation: (2), 4, 2014

  Expert reviewer for Academic Psychiatry Media Column             June 2018

  Expert Reviewer for Pediatrics                                   January 2021

  Expert reviewer for Academic Psychiatry Media Column             March 2022

  Expert Reviewer for Harvard Review of Psychiatry                 May 2021

  Co-editor: Kaliebe, Kristopher, and Paul Weigle. Youth Internet Habits and Mental
  Health, An Issue of Child and Adolescent Psychiatric Clinics of North America, E-Book.
  Vol. 27. No. 2. Elsevier Health Sciences.                         2018

  Member, Planning Committee for the Digital Media and Mental Health Research Retreat
  hosted by the nonprofit Children and Screens.
                                                                May 24th, 25th 2021.



  Revised: March 2023




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